               Case 2:19-bk-23085-BB Doc 271 Filed 10/12/23 Entered 10/12/23 11:35:03                                                                         Desc
               Jason M. Rund             Main Document  Page 1 of 126
               270 Coral Circle
               El Segundo, CA 90245
               Telephone: 310-640-1200
               Facsimile: 310-640-0200
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 /2009
 ary
 101-7-TFR
 3 Services    Email: jrund@srlawyers.com
                                      UNITED STATES BANKRUPTCY COURT
                                      CENTRAL DISTRICT OF CALIFORNIA
                                            LOS ANGELES DIVISION


                In Re:                                                                          §
                                                                                                §
                YOUTH POLICY INSTITUTE, INC.                                                    §           Case No. 2:19-bk-23085-BB
                                                                                                §
                                                              Debtor                            §

                                                             TRUSTEE’S FINAL REPORT (TFR)

                           The undersigned trustee hereby makes this Final Report and states as follows:

                       1. A petition under chapter 7 of the United States Bankruptcy Code was filed on
                 11/05/2019 . The undersigned trustee was appointed on 11/05/2019 .

                           2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                        3. All scheduled and known assets of the estate have been reduced to cash, released to
                the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
                pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
                disposition of all property of the estate is attached as Exhibit A.

                           4. The trustee realized gross receipts of                                             $          6,677,810.76

                                                  Funds were disbursed in the following amounts:

                                                  Payments made under an interim                                                          0.00
                                                  disbursement
                                                  Administrative expenses                                                   1,623,837.10
                                                  Bank service fees                                                            47,421.34
                                                  Other payments to creditors                                                 826,933.37
                                                  Non-estate funds paid to 3rd Parties                                              0.00
                                                  Exemptions paid to the debtor                                                     0.00
                                                  Other payments to the debtor                                                      0.00
                                                                                            1
                                                  Leaving a balance on hand of                                   $          4,179,618.95

                 The remaining funds are available for distribution.
          ____________________
                     1
                        The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement
          will be distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the
          maximum compensation set forth under 11 U.S.C. §326(a) on account of the disbursement of the additional interest.
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             5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
      account.

             6. The deadline for filing non-governmental claims in this case was 03/17/2020 and the
      deadline for filing governmental claims was 05/04/2020 . All claims of each class which will
      receive a distribution have been examined and any objections to the allowance of claims have
      been resolved. If applicable, a claims analysis, explaining why payment on any claim is not
      being made, is attached as Exhibit C.

                 7. The Trustee’s proposed distribution is attached as Exhibit D.

             8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
      $ 223,584.32 . To the extent that additional interest is earned before case closing, the maximum
      compensation may increase.

             The trustee has received $ 0.00 as interim compensation and now requests a sum of
      $ 223,584.32 , for a total compensation of $ 223,584.32 2. In addition, the trustee received
      reimbursement for reasonable and necessary expenses in the amount of $ 0.00 , and now requests
      reimbursement for expenses of $ 6,377.13 , for total expenses of $ 6,377.13 2.

             Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
      foregoing report is true and correct.


      Date: 09/05/2023                                     By:/s/JASON M. RUND, TRUSTEE
                                                               Trustee



      STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
      exemption 5 C.F.R. § 1320.4(a)(2) applies.




____________________
           2
            If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the amounts listed in the
Trustee’s Proposed Distribution (Exhibit D).

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Case Name:         YOUTH POLICY INSTITUTE, INC.                                                                                   Date Filed (f) or Converted (c):   11/05/19 (f)
                                                                                                                                  341(a) Meeting Date:               12/11/19
For Period Ending: 03/31/24                                                                                                       Claims Bar Date:                   03/17/20



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                                                                                                    Estimated Net Value
                                                                              Petition/        (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                             Asset Description                               Unscheduled          Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                 (Scheduled and Unscheduled (u) Property)                      Values                and Other Costs)          OA=554(a) Abandon             the Estate

 1. FINANCIAL ACCOUNT - WELLS FARGO (SAVINGS)                                           0.78                           0.78                                                0.78                 FA
     TRUSTEE REQUESTED TURNOVER OF BANK ACCOUNT
     FUNDS. ACCOUNT NUMBER ENDING 4008.


 2. FINANCIAL ACCOUNT - WELLS FARGO (CHECKING)                                         47.43                         47.43                                                47.43                 FA
     TRUSTEE REQUESTED TURNOVER OF BANK ACCOUNT
     FUNDS. ACCOUNT NUMBER ENDING 4905.


 3. FINANCIAL ACCOUNT - WELLS FARGO (PAYROLL CHECKING)                            2,466.17                        4,545.49                                           4,545.49                   FA
     TRUSTEE REQUESTED TURNOVER OF BANK ACCOUNT
     FUNDS. ACCOUNT NUMBER ENDING 7145.


 4. FINANCIAL ACCOUNT - CITIBANK (CPWM CHECKING)                                  1,265.00                        6,704.53                                           6,704.53                   FA
     TRUSTEE REQUESTED TURNOVER OF BANK ACCOUNT
     FUNDS. IDENTIFIED AS CPWM (CITI PERSONAL WEALTH
     MANAGEMENT) INCLUDES ACCOUNT NUMBERS 1997 AND
     3322


 5. FINANCIAL ACCOUNT - CITIBANK (CHECKING)                                       2,943.22                        1,251.29                                           1,251.29                   FA
     TRUSTEE REQUESTED TURNOVER OF BANK ACCOUNT
     FUNDS. ACCOUNT NUMBER ENDING IN 5858.


 6. FINANCIAL ACCOUNT - CITIBANK (CHECKING)                                           401.10                        401.10                                             401.10                   FA
     TRUSTEE REQUESTED TURNOVER OF BANK ACCOUNT
     FUNDS. ACCOUNT NUMBER ENDING 5922.


 7. FINANCIAL ACCOUNT - CITIBANK (CHECKING)                                             9.82                           9.82                                                9.82                 FA



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Case Name:         YOUTH POLICY INSTITUTE, INC.                                                                                 Date Filed (f) or Converted (c):   11/05/19 (f)
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                                                                                                  Estimated Net Value
                                                                              Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                             Asset Description                               Unscheduled        Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
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     TRUSTEE REQUESTED TURNOVER OF BANK ACCOUNT
     FUNDS. ACCOUNT NUMBER ENDING 7439.


 8. FINANCIAL ACCOUNT - CITIBANK (CHECKING)                                      38,070.82                     23,725.00                                           23,725.00                  FA
     TRUSTEE REQUESTED TURNOVER OF BANK ACCOUNT
     FUNDS. ACCOUNT NUMBER ENDING 6410.


 9. FINANCIAL ACCOUNT - PAYPAL (CHECKING)                                        25,470.60                     25,528.68                                           25,528.68                  FA
     TRUSTEE REQUESTED TURNOVER OF ACCOUNT FUNDS.
     ACCOUNT NUMBER ENDING FJ72.


 10. PARAMOUNT - HQ OFFICE DEPOSIT (6464 SUNSET)                                348,205.00                           0.00                                               0.00                  FA
     SECURITY DEPOIST ON FORMER
     EXECUTIVE/ADMINISTRATIVE OFFICES LOCATED ON SUNSET
     BOULEVARD. DEBTOR VACATED PREMISES BEFORE END OF
     LEASE AND LANDLORD ENTITLED TO ASSERT SECURITY
     DEPOSIT AGAINST UNPAID LEASE OBLIGATIONS.


 11. MBD INT. (2707-11 BEVERLY BLVD.)                                           258,744.53                           0.00                                               0.00                  FA
     SECURITY DEPOIST ON FORMER FACILITY LOCATED ON
     BEVERLY BOULEVARD. DEBTOR VACATED PREMISES
     BEFORE END OF LEASE AND LANDLORD ENTITLED TO
     ASSERT SECURITY DEPOSIT AGAINST UNPAID LEASE
     OBLIGATIONS.


 12. GENESIS LA CDE LLC DEPOSIT (13460 VAN NUYS)                                 22,600.00                           0.00                                               0.00                  FA
     SECURITY DEPOIST ON FORMER FACILITY LOCATED ON VAN




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                                                                                                  Estimated Net Value
                                                                              Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                             Asset Description                               Unscheduled        Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
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     NUYS BOULEVARD. DEBTOR VACATED PREMISES BEFORE
     END OF LEASE AND LANDLORD ENTITLED TO ASSERT
     SECURITY DEPOSIT AGAINST UNPAID LEASE OBLIGATIONS.


 13. SECURITY DEPOSIT - SAN FERNANDO FIRST STREET LLC                             2,800.00                           0.00                                               0.00                  FA
     SECURITY DEPOIST ON FORMER FACILITY LOCATED IN SAN
     FERNANDO. DEBTOR VACATED PREMISES BEFORE END OF
     LEASE AND LANDLORD ENTITLED TO ASSERT SECURITY
     DEPOSIT AGAINST UNPAID LEASE OBLIGATIONS.


 14. PREPAYMENT - KRAVITZ, INC 401K ADMINISTRATION COST                          18,275.00                           0.00                                               0.00                  FA
     DEBTOR PREPAID FUNDS TO THIRD PARTY ADMINISTRATOR
     FOR SERVICES IN CONNECTION WITH TERMINATION OF
     401(K) PLAN FOR 2020 AND 2021. TRUSTEE CONFIRMED
     SERVICES ARE BEING PROVIDED AND HAS BEEN IN TOUCH
     WITH COMPANY. ORDER APPROVING STIPULATION
     BETWEEN CHAPTER 7 TRUSTEE AND KRAVITZ, INC
     REGARDING WIND-DOWN AND DISSOLUTION OF DEBTOR'S
     401(K) PLAN ENTERED DECEMBER 23, 2019. NO MONETARY
     VALUE TO ESTATE BEYOND SERVICES PROVIDED OR TO BE
     PROVIDED.


 15. PREPAYMENT - PENSION ASSURANCE, LLP 401K AUDIT FEE                          17,100.00                           0.00                                               0.00                  FA
     DEBTOR PREPAID FUNDS FOR ANNUAL AUDIT OF 401(K).
     SERVICES ARE BEING PROVIDED AND COORDINATED BY
     KRAVITZ, INC. [ASSET NUMBER 13]. NO MONETARY VALUE
     TO ESTATE BEYOND SERVICES PROVIDED OR TO BE
     PROVIDED.



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                                                                                                  Estimated Net Value
                                                                              Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                             Asset Description                               Unscheduled        Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
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 16. PREPAYMENT - T. ROWE PRICE 401K ADMIN. COSTS                                10,263.00                           0.00                                               0.00                  FA
     DEBTOR PREPAID FUNDS FOR 401(K) ADMINISTRATION FEES.
     SERVICES ARE BEING PROVIDED AND COORDINATED BY
     KRAVITZ, INC. [ASSET NUMBER 13]. NO MONETARY VALUE
     TO ESTATE BEYOND SERVICES PROVIDED OR TO BE
     PROVIDED.


 17. PREPAYMENT - BARBARA SCHWARTZ 401K ADMIN. COSTS                              1,000.00                           0.00                                               0.00                  FA
     DEBTOR PREPAID FUNDS TO RETIREMENT PLAN
     CONSULTANTS. SERVICES ARE BEING PROVIDED AND
     COORDINATED BY KRAVITZ, INC. [ASSET NUMBER 13]. NO
     MONETARY VALUE TO ESTATE BEYOND SERVICES
     PROVIDED OR TO BE PROVIDED.


 18. PREPAYMENT - VISION SERVICES (1 MONTH PLAN)                                  6,147.78                           0.00                                               0.00                  FA
     THE DEBTOR HAS APPROXIMATELY OVER 1,1100 EMPLOYEES
     JUST PRIOR TO THE BANKRUPTCY FILING. PAYROLL WAS
     ONE WEEK IN ARREARS. LAST PAYROLL WAS 969
     EMPLOYESS AND 466 ACCEPTED EMPLOYMENT WITH THINK
     TOGETHER LEAVING APPROXIMATELY 500 EMPLOYEES
     UNPAID. THIS PAYMENT REPRESENTS A FINAL PAYMENT
     FOR VISION SERVICES. NO MONETARY VALUE TO THE
     BANKRUPTCY ESTATE BEYOND BENEFIT TO FORMER
     EMPLOYEES.


 19. PREPAYMENT - KAISER PERMANENTE (1 MONTH INSURANCE)                         134,496.40                           0.00                                               0.00                  FA




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                                                                                                   Estimated Net Value
                                                                              Petition/       (Value Determined by Trustee,    Property Formally           Sale/Funds                Asset Fully Administered (FA)/
                             Asset Description                               Unscheduled         Less Liens, Exemptions,          Abandoned                Received by              Gross Value of Remaining Assets
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     THE DEBTOR HAS APPROXIMATELY OVER 1,1100 EMPLOYEES
     JUST PRIOR TO THE BANKRUPTCY FILING. PAYROLL WAS
     ONE WEEK IN ARREARS. LAST PAYROLL WAS 969
     EMPLOYESS AND 466 ACCEPTED EMPLOYMENT WITH THINK
     TOGETHER LEAVING APPROXIMATELY 500 EMPLOYEES
     UNPAID. THIS PAYMENT REPRESENTS A FINAL PAYMENT
     FOR HEALTH INSURANCE. NO MONETARY VALUE TO THE
     BANKRUPTCY ESTATE BEYOND BENEFIT TO FORMER
     EMPLOYEES.


 20. ACCOUNTS RECEIVABLE - 90 DAYS OR LESS                                     1,552,584.25                     500,000.00                                          513,361.21                  FA
     THESE ARE NOT TRADITIONAL TRADE ACCOUNTS
     RECEIVABLE BUT RATHER AMOUNTS DEBTOR CLAIMS ARE
     DUE IN CONNECTION WITH UNPAID GRANTS RECEIVED
     PRIMARILIY FROM GOVERNMENTAL AGENCIES. THE
     GRANTS ARE SUBJECT TO AUDIT REQUIREMENTS AND
     VERIFICATION THE FUNDS WERE USED FOR THE PERMITTED
     PROGRAMS. MOST OF THE GRANTS ARE A HYBRID OF
     REIMBURSEMENT FOR PAST PROGRAMS PROVIDED AND FOR
     FUTURE PROGRAMS. TRUSTEE HAS A SPREADSHEET
     SETTING FORTH ALL OF THE FUNDS AND IS COOPERATING
     WITH THE AGENCIES TO PROVIDE THE REQUIRED
     INFORMATION. IT APPEARS THAT A MAJOIRTY OF THE
     FUNDS DUE ARE SUBJECT TO SET OFF. FOR EXAMPLE, THE
     LOS ANGELES UNIFIED SCHOOL DISTRICT HAS ALREADY
     INFORMED THE TRUSTEE THAT SET OFFS EXCEED THE
     AMOUNT OWED.

     TO FACILITATE COLLECTION, TRUSTEE ENTERED INTO AN



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                                                                                                Estimated Net Value
                                                                              Petition/    (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                             Asset Description                               Unscheduled      Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
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     INDEPDENT CONTRACTOR AGREEMENT WITH DAVID
     OSHIRO, DEBTOR'S FORMER CONTROLLER, TO SERVE AS A
     PARAPROFESIONAL TO ASSIST WITH COLLECTING. THE
     ORDER APPOVING EMPLOYMENT WAS ENTERED JANUARY
     16, 2020.

     THE TRUSTEE HAS INVESTIGATED THE DISCLOSED CLAIM OF
     NONPROFIT FINANANCE FUND ("NFF"), AND UNDERSTANDS
     THAT NFF ASSERTS THAT, AS OF THE PETITION DATE, THE
     DEBTOR WAS INDEBTED TO NFF ON A SECURED LOAN
     OBLIGATION IN THE APPROXIMATE AGGREGATE PRINCIPAL
     AMOUNT OF $4,350,000 (THE "NFF SECURED CLAIM")
     PURSUANT TO, INTER ALIA, A SECURITY AGREEMENT
     PURSUANT TO WHICH THE THE DEBTOR PLEDGED
     SUBSTANTIALLY ALL OF ITS ASSETS UNDER THE NFF LOAN
     AND PERFECTED PURSUANT TO UCC-1 FILINGS WITH THE
     WASHINGTON D.C. SECRETARY OF STATE. THE TRUSTEE IS
     CURRENTLY NEGOTIATING A STIPULATION TO RESOLVE ALL
     ISSUES WITH RESPECT TO THE NFF CLAIM AND PROVIDE A
     CARVE OUT FOR THE BANKRUPTCY ESTATE.

     THE TRUSTEE'S ESTIMATED VALUE IS BASED ON PRESENLY
     KNOWN INFORMATION FOLLOWING INITIAL INTERACTION
     WITH THE AGENCIES PROVIDING GRANTS.

     COLLECTED RECEIVABLES:

     ALTA PUBLIC SCHOOLS. PER ACCOUNTS RECEIVABLE AGING
     BALANCE IS $17,892. RECEIVED $20,000.




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                                                                                                Estimated Net Value
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     HOUSING COMMUNITY INVESTMENT DEPARTMENT (HCID)
     PRE-PETITION RECEIVABLE PER DEBTOR IS $695,516.14.
     AFTER INVESTIGATION AND EXCHANGE OF INFORMATION
     REGARDING PRE-PETITION PAYMENTS, TOTAL AMOUNT
     OUTSTANDING IS $471,825.58 LESS $11,746.98 OF DISALLOWED
     COSTS FOR BALANCE OF $470,078.60. ORDER APPROVING
     COMPROMISE ENTERED FEBRUARY 12, 2021.

     THE OTHER SIGNIFICANT PORTION OF THE OUTSTANDING
     GRANT PAYMENTS IS THE CITY OF LOS ANGELES ECONOMIC
     AND WORKFORCE DEVELOPMENT (EWDD) PROJECT WITH A
     BALANCE OF APPROXIMATELY $650,000. THE EWDD WAS
     AUDITING THE DEBTOR'S RECORDS PRIOR TO BANKRUPTCY
     AND HAS ASSERTED THE DEBTOR OWES APPROXIMATELY
     $1M IN CONNECTION WITH IMPROPER EXPENDITURES OF
     GRANTS. THE TRUSTEE WITH THE ASSISTANCE OF COUNSEL
     HAS PROVIDED SUPPLEMENTAL INFORMATION TO THE
     EWDD AND WHILE THEIR AUDIT HAS NOT BEEN COMPLETED
     AS OF FEBRUARY THEY WERE STILL ASSERTING A
     SUBSTANTIAL OFFSET.

     THE CITY OF LOS ANGELES MAYOR'S OFFICE OF ECONOMIC
     OPPRTUNITY HAS A BALANCE OF $29,000 WHICH THE
     TRUSTEE HAS BEEN TRYING TO COLLECT AND BELIEVES
     THE AMOUNT WILL BE COLLECTED.

     THE TRUSTEE DOES NOT BELIEVE ANY FURTHER AMOUNTS
     WILL BE COLLECTED.




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                                                                                                                                   341(a) Meeting Date:               12/11/19
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                             Asset Description                                Unscheduled         Less Liens, Exemptions,           Abandoned                Received by             Gross Value of Remaining Assets
                 (Scheduled and Unscheduled (u) Property)                       Values               and Other Costs)           OA=554(a) Abandon             the Estate


 21. ACCOUNTS RECEIVABLE - OVER 90 DAYS OLD                                     1,074,425.96                     75,000.00                                            77,221.90                  FA
     THESE ARE NOT TRADITIONAL TRADE ACCOUNTS
     RECEIVABLE BUT RATHER AMOUNTS DEBTOR CLAIMS ARE
     DUE IN CONNECTION WITH UNPAID GRANTS RECEIVED
     PRIMARILIY FROM GOVERNMENTAL AGENCIES. THE
     GRANTS ARE SUBJECT TO AUDIT REQUIREMENTS AND
     VERIFICATION THE FUNDS WERE USED FOR THE PERMITTED
     PROGRAMS. MOST OF THE GRANTS ARE A HYBRID OF
     REIMBURSEMENT FOR PAST PROGRAMS PROVIDED AND FOR
     FUTURE PROGRAMS. TRUSTEE HAS A SPREADSHEET
     SETTING FORTH ALL OF THE FUNDS AND IS COOPERATING
     WITH THE AGENCIES TO PROVIDE THE REQUIRED
     INFORMATION. IT APPEARS THAT A MAJOIRTY OF THE
     FUNDS DUE ARE SUBJECT TO SET OFF. FOR EXAMPLE, THE
     LOS ANGELES UNIFIED SCHOOL DISTRICT HAS ALREADY
     INFORMED THE TRUSTEE THAT SET OFFS EXCEED THE
     AMOUNT OWED.

     TO FACILITATE COLLECTION, TRUSTEE ENTERED INTO AN
     INDEPDENT CONTRACTOR AGREEMENT WITH DAVID
     OSHIRO, DEBTOR'S FORMER CONTROLLER, TO SERVE AS A
     PARAPROFESIONAL TO ASSIST WITH COLLECTING. THE
     ORDER APPOVING EMPLOYMENT WAS ENTERED JANUARY
     16, 2020.

     THE TRUSTEE HAS INVESTIGATED THE DISCLOSED CLAIM OF
     NONPROFIT FINANANCE FUND ("NFF"), AND UNDERSTANDS
     THAT NFF ASSERTS THAT, AS OF THE PETITION DATE, THE



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                                                                                                 Estimated Net Value
                                                                               Petition/    (Value Determined by Trustee,     Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                             Asset Description                                Unscheduled      Less Liens, Exemptions,           Abandoned                Received by             Gross Value of Remaining Assets
                 (Scheduled and Unscheduled (u) Property)                       Values            and Other Costs)           OA=554(a) Abandon             the Estate

     DEBTOR WAS INDEBTED TO NFF ON A SECURED LOAN
     OBLIGATION IN THE APPROXIMATE AGGREGATE PRINCIPAL
     AMOUNT OF $4,350,000 (THE "NFF SECURED CLAIM")
     PURSUANT TO, INTER ALIA, A SECURITY AGREEMENT
     PURSUANT TO WHICH THE THE DEBTOR PLEDGED
     SUBSTANTIALLY ALL OF ITS ASSETS UNDER THE NFF LOAN
     AND PERFECTED PURSUANT TO UCC-1 FILINGS WITH THE
     WASHINGTON D.C. SECRETARY OF STATE. THE TRUSTEE IS
     CURRENTLY NEGOTIATING A STIPULATION TO RESOLVE ALL
     ISSUES WITH RESPECT TO THE NFF CLAIM AND PROVIDE A
     CARVE OUT FOR THE BANKRUPTCY ESTATE.

     THE TRUSTEE'S ESTIMATED VALUE IS BASED ON PRESENTLY
     KNOWN INFORMATION FOLLOWING INITIAL INTERACTION
     WITH THE AGENCIES PROVIDING GRANTS.

     THE LARGEST PORTION IS APPROXIMATELY $761,000 OWED
     BY DEPARTMENT OF EDUCATION/PROMISE NEIGHBORHOOD
     WHICH THE TRUSTEE BELIVES WAS PAID PRE-PETITION.
     TRUSTEE'S COUNSEL IS SEEKING TO OBTAIN FINAL
     VERIFICATION.

     ANOTHER SIGNIFICANT PORTION CONCERNS THE LOS
     ANGELES UNIFIED SCHOOL DISTRICT PROGRAMS AND THE
     ACCOUNTING PROVIDED DOES NOT SHOW A CURRENT
     AMOUNT DUE.

     THE ONLY PORTION THAT APPEARS COLLECTALBE IS
     APPROXIMATELY $29,000 FROM THE MAYOR'S OFFICE OF




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                                                                                                   Estimated Net Value
                                                                               Petition/      (Value Determined by Trustee,     Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                             Asset Description                                Unscheduled        Less Liens, Exemptions,           Abandoned                Received by             Gross Value of Remaining Assets
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     ECONOMIC OPPORTRUINTY. COLLECTED APRIL, MAY AND
     AUGUST 2019 AMOUNTS DUE IN THE AMOUNT OF $26,986.81
     IN CONNECTION WITH THE PROPOSITION 47 PROGRAMS.
     COLLECTED $29,819.70 FROM THE CITY OF LOS ANGELES
     FOR THE GANG REDUCTION YOUTH DEVELOPMENT (GRYD)
     PROGRAMS FOR FEBRUARY 2019 AND MARCH 2019 IN THE
     AMOUNT OF $29,819.70.


 22. VARIOUS OFFICE FURNITURE                                                      2,000.00                           0.00            OA                                  0.00                  FA
     TRUSTEE INSPECTED THE PERSONAL PROPERTY AND HAD
     SCOTT VAN HORN OF OF VAN HORN AUCTIONS APPRAISAL
     GROUP, LLC PROVIDE AN OPINION OF VALUE. THE TOTAL
     VALUE WAS $40,000 - $45,000 INCLUDING THE 2014 FORD 350
     VAN [ASSET NUMBER 25] VALUED AT $6.000. ESTIMATED
     SALE COSTS ARE $9,500.

     THE TRUSTEE HAS INVESTIGATED THE DISCLOSED CLAIM OF
     NONPROFIT FINANANCE FUND ("NFF"), AND UNDERSTANDS
     THAT NFF ASSERTS THAT, AS OF THE PETITION DATE, THE
     DEBTOR WAS INDEBTED TO NFF ON A SECURED LOAN
     OBLIGATION IN THE APPROXIMATE AGGREGATE PRINCIPAL
     AMOUNT OF $4,350,000 (THE "NFF SECURED CLAIM")
     PURSUANT TO, INTER ALIA, A SECURITY AGREEMENT
     PURSUANT TO WHICH THE THE DEBTOR PLEDGED
     SUBSTANTIALLY ALL OF ITS ASSETS UNDER THE NFF LOAN
     AND PERFECTED PURSUANT TO UCC-1 FILINGS WITH THE
     WASHINGTON D.C. SECRETARY OF STATE. THE TRUSTEE IS
     CURRENTLY NEGOTIATING A STIPULATION TO RESOLVE ALL
     ISSUES WITH RESPECT TO THE NFF CLAIM AND PROVIDE A



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                                                                                                   Estimated Net Value
                                                                               Petition/      (Value Determined by Trustee,     Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                             Asset Description                                Unscheduled        Less Liens, Exemptions,           Abandoned                Received by             Gross Value of Remaining Assets
                 (Scheduled and Unscheduled (u) Property)                       Values              and Other Costs)           OA=554(a) Abandon             the Estate

     CARVE OUT FOR THE BANKRUPTCY ESTATE.

     THE TRUSTEE DETERMINED THE PERSONAL PROPERTY IS OF
     INCONSEQUENTIAL VALUE TO THE BANKRUPTCY ESTATE.
     ORDER APPROVING TRUSTEE'S MOTION TO ABANDON
     PERSONAL PROPERTY ENTERED MARCH 13, 2020.


 23. OFFICE FIXTURES - SITE IMPROVEMENTS                                               0.00                           0.00            OA                                  0.00                  FA
     NET BOOK VALUE LISTED AS $485,505.22.

     TRUSTEE INSPECTED THE PERSONAL PROPERTY AND HAD
     SCOTT VAN HORN OF OF VAN HORN AUCTIONS APPRAISAL
     GROUP, LLC PROVIDE AN OPINION OF VALUE. THE TOTAL
     VALUE WAS $40,000 - $45,000 INCLUDING THE 2014 FORD 350
     VAN [ASSET NUMBER 25] VALUED AT $6.000. ESTIMATED
     SALE COSTS ARE $9,500.

     THE TRUSTEE HAS INVESTIGATED THE DISCLOSED CLAIM OF
     NONPROFIT FINANANCE FUND ("NFF"), AND UNDERSTANDS
     THAT NFF ASSERTS THAT, AS OF THE PETITION DATE, THE
     DEBTOR WAS INDEBTED TO NFF ON A SECURED LOAN
     OBLIGATION IN THE APPROXIMATE AGGREGATE PRINCIPAL
     AMOUNT OF $4,350,000 (THE "NFF SECURED CLAIM")
     PURSUANT TO, INTER ALIA, A SECURITY AGREEMENT
     PURSUANT TO WHICH THE THE DEBTOR PLEDGED
     SUBSTANTIALLY ALL OF ITS ASSETS UNDER THE NFF LOAN
     AND PERFECTED PURSUANT TO UCC-1 FILINGS WITH THE
     WASHINGTON D.C. SECRETARY OF STATE. THE TRUSTEE IS
     CURRENTLY NEGOTIATING A STIPULATION TO RESOLVE ALL



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                             Asset Description                                Unscheduled        Less Liens, Exemptions,           Abandoned                Received by             Gross Value of Remaining Assets
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     ISSUES WITH RESPECT TO THE NFF CLAIM AND PROVIDE A
     CARVE OUT FOR THE BANKRUPTCY ESTATE.

     THE TRUSTEE DETERMINED THE PERSONAL PROPERTY IS OF
     INCONSEQUENTIAL VALUE TO THE BANKRUPTCY ESTATE.
     ORDER APPROVING TRUSTEE'S MOTION TO ABANDON
     PERSONAL PROPERTY ENTERED MARCH 13, 2020.


 24. OFFICE EQUIPMENT                                                             15,000.00                           0.00            OA                                  0.00                  FA
     EQUPMENT INCLUDES COMPUTERS, PHONES, PRINTERS AND
     NETWORKING HARDWARE.

     TRUSTEE INSPECTED THE PERSONAL PROPERTY AND HAD
     SCOTT VAN HORN OF OF VAN HORN AUCTIONS APPRAISAL
     GROUP, LLC PROVIDE AN OPINION OF VALUE. THE TOTAL
     VALUE WAS $40,000 - $45,000 INCLUDING THE 2014 FORD 350
     VAN [ASSET NUMBER 25] VALUED AT $6.000. ESTIMATED
     SALE COSTS ARE $9,500.

     THE TRUSTEE HAS INVESTIGATED THE DISCLOSED CLAIM OF
     NONPROFIT FINANANCE FUND ("NFF"), AND UNDERSTANDS
     THAT NFF ASSERTS THAT, AS OF THE PETITION DATE, THE
     DEBTOR WAS INDEBTED TO NFF ON A SECURED LOAN
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     AMOUNT OF $4,350,000 (THE "NFF SECURED CLAIM")
     PURSUANT TO, INTER ALIA, A SECURITY AGREEMENT
     PURSUANT TO WHICH THE THE DEBTOR PLEDGED
     SUBSTANTIALLY ALL OF ITS ASSETS UNDER THE NFF LOAN
     AND PERFECTED PURSUANT TO UCC-1 FILINGS WITH THE



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                                                                               Petition/      (Value Determined by Trustee,     Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                             Asset Description                                Unscheduled        Less Liens, Exemptions,           Abandoned                Received by             Gross Value of Remaining Assets
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     WASHINGTON D.C. SECRETARY OF STATE. THE TRUSTEE IS
     CURRENTLY NEGOTIATING A STIPULATION TO RESOLVE ALL
     ISSUES WITH RESPECT TO THE NFF CLAIM AND PROVIDE A
     CARVE OUT FOR THE BANKRUPTCY ESTATE.

     THE TRUSTEE DETERMINED THE PERSONAL PROPERTY IS OF
     INCONSEQUENTIAL VALUE TO THE BANKRUPTCY ESTATE.
     ORDER APPROVING TRUSTEE'S MOTION TO ABANDON
     PERSONAL PROPERTY ENTERED MARCH 13, 2020.


 25. VEHICLE - FORD TRANSIT VAN (2016)                                            15,000.00                           0.00            OA                                  0.00                  FA
     TRUSTEE INSPECTED THE VAN AND HAD SCOTT VAN HORN
     OF OF VAN HORN AUCTIONS APPRAISAL GROUP, LLC
     PROVIDE AN OPINION OF VALUE. THE TOTAL VALUE WAS
     $9,000 - $10,000. THE VAN IS SUBJECT TO A LIEN IN THE
     AMOUNT OF $13,622. THEREFORE, THERE IS NO EQUITY
     WHICH CAN BE REALIZED FOR THE BENEFIT OF CREDITORS.
     TRUSTEE INTENDS TO FILE A NOTICE OF ABANDONMENT
     AND WILL UPDATE THE STATUS.

     TRUSTEE OBTAINED INSURANCE THROUGH GREAT
     AMERICAN INSURANCE GROUP, POLICY NUNBER 1134134,
     VALID UNTIL CANCELLED.

     NOTICE OF ABANDONMENT FILED APRIL 6, 2020. THERE WAS
     NO RESPONSE OR OBJECTION.


 26. BUILDING IMPROVMENTS FOR LEASED SPACE                                             0.00                           0.00                                                0.00                  FA




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                             Asset Description                                Unscheduled        Less Liens, Exemptions,           Abandoned                Received by              Gross Value of Remaining Assets
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     NET BOOK VALUE LISTED AS $30,628.

     THIS CONSISTS OF IMPROVEMENTS TO LEASED SPACE
     WHICH IS PART OF THE REAL PROPERTY AND CANNOT BE
     LIQUIDATED FOR CREDITORS.


 27. INTERNET DOMAIN NAMES AND WEBSITES                                                0.00                           0.00                                                 0.00                  FA
     DEBTOR DISCLOSED TWO INTERNET DOMAIN NAMES:
     YPI.ORG AND YPIUSA.ORG. TRUSTEE EVALUATED THE
     DOMAINS THRU THE GODADDY WEBSITE AND THE VALUES
     WERE $4,886 AND $338 RESPECTIVELY. THE TRUSTEE'S
     EXPERIENCE IS DOMAINS WHICH ARE NOT ASSOCIATED
     WITH OPTIMZED WEBSITES SELL FOR SIGNIFICANTLY LESS.

     THE TRUSTEE HAS INVESTIGATED THE DISCLOSED CLAIM OF
     NONPROFIT FINANANCE FUND ("NFF"), AND UNDERSTANDS
     THAT NFF ASSERTS THAT, AS OF THE PETITION DATE, THE
     DEBTOR WAS INDEBTED TO NFF ON A SECURED LOAN
     OBLIGATION IN THE APPROXIMATE AGGREGATE PRINCIPAL
     AMOUNT OF $4,350,000 (THE "NFF SECURED CLAIM")
     PURSUANT TO, INTER ALIA, A SECURITY AGREEMENT
     PURSUANT TO WHICH THE THE DEBTOR PLEDGED
     SUBSTANTIALLY ALL OF ITS ASSETS UNDER THE NFF LOAN
     AND PERFECTED PURSUANT TO UCC-1 FILINGS WITH THE
     WASHINGTON D.C. SECRETARY OF STATE.


 28. FUTA OVERPAYMENT - 2017                                                     226,695.00                     241,000.00                                           211,426.97                  FA
     DEBTOR WAS A NOT PROFIT CORPORATION AND THEREFORE




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                                                                                                 Estimated Net Value
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     NOT REQUIRED TO FEDERAL UNEMPLOYMENT TAXES
     (FUTA). TRUSTEE, WITH THE ASSITANCE OF HIS
     ACCOUNTANT, HAS CONTACTED THE INTERNAL REVENUE
     AND IS ATTEMPT TO HAVE THE AMOUNT INCORRECTLY PAID
     REFUNDED.

     THE TRUSTEE HAS INVESTIGATED THE DISCLOSED CLAIM OF
     NONPROFIT FINANANCE FUND ("NFF"), AND UNDERSTANDS
     THAT NFF ASSERTS THAT, AS OF THE PETITION DATE, THE
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     WASHINGTON D.C. SECRETARY OF STATE. THE TRUSTEE IS
     CURRENTLY NEGOTIATING A STIPULATION TO RESOLVE ALL
     ISSUES WITH RESPECT TO THE NFF CLAIM AND PROVIDE A
     CARVE OUT FOR THE BANKRUPTCY ESTATE IN THE AMOUNT
     OF 50% OF THE TAX OVERPAYMENT. THEREFORE, THE
     TRUSTEE HAS EXTIMATED THE NET VALUE ACCORDINGLY.

     CURRENT STATUS: AN ORIGINAL RETURN WAS FILED
     INCORRECTLY PAYING TAXES IN THE AMOUNT OF $226,295.
     AN AMENDED RETURN WAS FILED REDUCING THE DEBTOR'S
     TAXES FOR THIS PERIOD TO $0.00. ACCORDING TO THE TAX
     TRANSCRIPT, THIS AMENDED RETURN WAS POSTED ON
     AUGUST 27, 2020. A REFUND WAS RECEIVED IN THE




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     AMOUNT OF $130,820.76 [$121,980.27 TAX PLUS $15,840.49
     INTEREST]. THE ADDITIONAL CREDIT WAS REDUCED AS
     CREDITS TO OTHER 940 PERIODS (2016 AND 2019). BECAUSE
     THERE ARE NO TAXES DUE FOR THOSE YEARS THE
     TRANSFER CREDIT SHOULD NOT HAVE OCCURRED.
     BECAUSE THE BANKRUPTCY ESTATE RECEIVED A TAX
     REFUND IN THE AMOUNT OF $121,980.27, IT IS ANTICIPATED
     THE BALANCE OF $104,714.73 PLUS INTEREST SHOULD BE
     RECEIVED. THE REMAINING BALANCE DOES NOT APPEAR
     RECOVERABLE.


 29. FUTA OVERPAYMENT - 2018                                                      53,768.02                     53,768.02                                            58,123.87                  FA
     DEBTOR WAS A NOT PROFIT CORPORATION AND THEREFORE
     NOT REQUIRED TO FEDERAL UNEMPLOYMENT TAXES
     (FUTA). TRUSTEE, WITH THE ASSITANCE OF HIS
     ACCOUNTANT, HAS CONTACTED THE INTERNAL REVENUE
     AND IS ATTEMPT TO HAVE THE AMOUNT INCORRECTLY PAID
     REFUNDED.

     THE TRUSTEE HAS INVESTIGATED THE DISCLOSED CLAIM OF
     NONPROFIT FINANANCE FUND ("NFF"), AND UNDERSTANDS
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     PURSUANT TO WHICH THE THE DEBTOR PLEDGED
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                 (Scheduled and Unscheduled (u) Property)                       Values             and Other Costs)           OA=554(a) Abandon             the Estate

     WASHINGTON D.C. SECRETARY OF STATE. THE TRUSTEE IS
     CURRENTLY NEGOTIATING A STIPULATION TO RESOLVE ALL
     ISSUES WITH RESPECT TO THE NFF CLAIM AND PROVIDE A
     CARVE OUT FOR THE BANKRUPTCY ESTATE IN THE AMOUNT
     OF 50% OF THE TAX OVERPAYMENT. THEREFORE, THE
     TRUSTEE HAS EXTIMATED THE NET VALUE ACCORDINGLY.

     CURRENT STATUS: AN ORIGINAL RETURN WAS FILED
     INCORRECTLY PAYING TAXES IN THE AMOUNT OF $53,768.02.
     AN AMENDED RETURN WAS FILED REDUCING THE DEBTOR'S
     TAXES FOR THIS PERIOD TO $0.00. ACCORDING TO THE TAX
     TRANSCRIPT, THIS AMENDED RETURN WAS POSTED ON
     AUGUST 27, 2020. A REFUND WAS RECEIVED IN THE
     AMOUNT OF $58,128.37 [$53,768.43 TAX PLUS $4,355.14
     INTEREST]. THE REFUND FOR 2018 HAS BEEN FULLY PAID
     AND NO FURTHER REFUND IS ANTICIPATED.


 30. CAUSE OF ACTION - DIXON SLINGERLAND DEMAND                                    Unknown                     700,000.00                                       4,886,796.00                   FA
     DEMAND FOR REIMBURSEMENT OF EXPENSES. AMOUNT
     REQUESTED $1,770,341.61.

     DIXON SLINGERLAND WAS THE FORMER CHIEF EXECUTIVE
     OF THE DEBTOR. DEBTOR ASSERTS SLINGERLAND
     EMBEZZLED $1,770,341.61 IN FUNDS FROM THE DEBTOR
     THROUGH IMPROPER EXPENSE REIMBURSEMENTS AND
     OTHER PERSONAL EXPENSES HE FRAUDULENTLY CAUSED
     DEBTOR TO PAY.

     THE AMOUNT REQUESTED BY THE DEBTOR IS BASED ON



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Case Name:         YOUTH POLICY INSTITUTE, INC.                                                                                 Date Filed (f) or Converted (c):   11/05/19 (f)
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                                                                                                 Estimated Net Value
                                                                               Petition/    (Value Determined by Trustee,     Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                             Asset Description                                Unscheduled      Less Liens, Exemptions,           Abandoned                Received by             Gross Value of Remaining Assets
                 (Scheduled and Unscheduled (u) Property)                       Values            and Other Costs)           OA=554(a) Abandon             the Estate

     THE FINDINGS OF AN INDEPENDENT AUDIT CONDUCTED BY
     ARMANINO, LLP FOR THE FISCAL YEAR ENDED JUNE 30, 2018.
     RECOVERY WILL LIKELY BE DEPENDENT ON THE
     AVAILABILITY OF INSURACE COVERAGE WHICH IS BEING
     INVESTIGATED.

     THE TRUSTEE HAS INVESTIGATED THE DISCLOSED CLAIM OF
     NONPROFIT FINANANCE FUND ("NFF"), AND UNDERSTANDS
     THAT NFF ASSERTS THAT, AS OF THE PETITION DATE, THE
     DEBTOR WAS INDEBTED TO NFF ON A SECURED LOAN
     OBLIGATION IN THE APPROXIMATE AGGREGATE PRINCIPAL
     AMOUNT OF $4,350,000 (THE "NFF SECURED CLAIM")
     PURSUANT TO, INTER ALIA, A SECURITY AGREEMENT
     PURSUANT TO WHICH THE THE DEBTOR PLEDGED
     SUBSTANTIALLY ALL OF ITS ASSETS UNDER THE NFF LOAN
     AND PERFECTED PURSUANT TO UCC-1 FILINGS WITH THE
     WASHINGTON D.C. SECRETARY OF STATE. THE TRUSTEE IS
     CURRENTLY NEGOTIATING A STIPULATION TO RESOLVE ALL
     ISSUES WITH RESPECT TO THE NFF CLAIM AND PROVIDE A
     CARVE OUT FOR THE BANKRUPTCY ESTATE IN THE AMOUNT
     OF 90% OF THE RECOVERY ON COMMERCIAL TORT CLAIMS.
     THEREFORE, THE TRUSTEE HAS EXTIMATED THE NET VALUE
     ACCORDINGLY AND DISCOUNTED FOR THE RISK OF NO
     RECOVERY.

     TRUSTEE HAS PRESENTED A CLAIM TO HANOVER
     INSURANCE, DEBTOR'S CRIME INSURANCE POLICY CARRIER.
     NUMEROUS CORRESPONDENCE HAVE BEEN EXCHANGED
     AND DOCUMENTS PRODUCED. THE INSURANCE COMPANY




LFORM1   UST Form 101-7-TFR (5/1/2011)                           (Page: 20)                                                 Exhibit A                                                                        Ver: 22.07i
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                                                                                                    Estimated Net Value
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                             Asset Description                                Unscheduled         Less Liens, Exemptions,           Abandoned                Received by             Gross Value of Remaining Assets
                 (Scheduled and Unscheduled (u) Property)                       Values               and Other Costs)           OA=554(a) Abandon             the Estate

     INVESTIGATION IS ONGOING. IF THE INSURANCE CLAIM IS
     NOT ACCEPTED THEN TRUSTEE WILL EVALUATE WHETHER
     LITIGATION IS IN THE BEST INTERESTS OF THE BANKRUPTCY
     ESTATE.

     TRUSTEE COMMENCED AN ADVERSARY PROCEEDING ON
     NOVEMBER 3, 2021 [2:21-AP-01221-BB] AGAINST DIXON
     SLINGERLAND, HIS SPOUSE, SUZANNE STEINKE. STEVEN
     SCHULTZ, THE FORMER CHIEF FINANCIAL OFFICER OF THE
     DEBTOR, AND THE DEBTOR'S FORMER AUDITOR, HILL
     MORGAN & ASSOCIATES, LLP. THE CAUSES OF ACTION ARE
     FOR NEGLIGENCE, UNJUST ENRICHMENT, BREACH OF
     FIDUCIARY DUTY, BREACH OF CHARITABLE TRUST, FRAUD,
     CONVERSION, RECEIVING EMBEZZLED FUNDS, UNFAIR
     BUSINESS PRACTICES AND PROFESSIONAL NEGLIGENCE.

     CURENT DATES:

     MEDIATION: MAY 2, 2022

     STATUS CONFERENCE: MAY 3, 2022

     ORDER APPROVING COMPROMISE ENTERED FEBRUARY 8,
     2023


 31. UNBILLED GRANT - DOE - PROMISE NEIGHBORHOOD                                1,218,675.90                     50,000.00                                                 0.00                  FA
     GRANT ( JULY TO OCTOBER 2019). REPORT HAS NOT BEEN
     PREPARED. AMOUNT MAY BE SUBJECT TO OFFSET.




LFORM1   UST Form 101-7-TFR (5/1/2011)                           (Page: 21)                                                    Exhibit A                                                                        Ver: 22.07i
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                             Asset Description                                Unscheduled      Less Liens, Exemptions,           Abandoned                Received by             Gross Value of Remaining Assets
                 (Scheduled and Unscheduled (u) Property)                       Values            and Other Costs)           OA=554(a) Abandon             the Estate

     THE TRUSTEE HAS SERIOUS CONCERNS THAT ANY AMOUNT
     CAN BE RECOVERED FROM THE FEDERAL GOVERNMENT ON
     THE UNBILLED GRANTS. THESE ARE REIMBURSEMENT
     GRANTS AND THE RECIPIENT MUST SHOW THAT THE FUNDS
     RECCEIVED WERE USED FOR SPECIFIC PROGRAMS. GIVEN
     THE DEBTOR'S FINANCIAL DIFFICULTIES AND LACK OF
     INTERNAL CONTROLS IT CANNOT SHOW AND LIKELY DID
     NOT USE FUNDS DESIGNATED FOR SPECIFIC PROGRAMS.
     DEBTOR USED FUNDS FOR OTHER PROGRAMS IT WAS
     OPERATING AND FOR ADMINISTRATIVE/OVERHEAD
     EXPENSES NOT PERMITTED UNDER THE GRANT. FEDERAL
     AGENCIES HAVE ONGOING INVESTIGATIONS AND HAVE
     ISSUED SUBPOENAS.

     THE TRUSTEE HAS INVESTIGATED THE DISCLOSED CLAIM OF
     NONPROFIT FINANANCE FUND ("NFF"), AND UNDERSTANDS
     THAT NFF ASSERTS THAT, AS OF THE PETITION DATE, THE
     DEBTOR WAS INDEBTED TO NFF ON A SECURED LOAN
     OBLIGATION IN THE APPROXIMATE AGGREGATE PRINCIPAL
     AMOUNT OF $4,350,000 (THE "NFF SECURED CLAIM")
     PURSUANT TO, INTER ALIA, A SECURITY AGREEMENT
     PURSUANT TO WHICH THE DEBTOR PLEDGED
     SUBSTANTIALLY ALL OF ITS ASSETS UNDER THE NFF LOAN
     AND PERFECTED PURSUANT TO UCC-1 FILINGS WITH THE
     WASHINGTON D.C. SECRETARY OF STATE. THE TRUSTEE IS
     CURRENTLY NEGOTIATING A STIPULATION TO RESOLVE ALL
     ISSUES WITH RESPECT TO THE NFF CLAIM AND PROVIDE A
     CARVE OUT FOR THE BANKRUPTCY ESTATE IN THE AMOUNT
     OF 30% OF AMOUNTS RECOVERED. THEREFORE, THE




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                             Asset Description                                Unscheduled         Less Liens, Exemptions,           Abandoned                Received by             Gross Value of Remaining Assets
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     TRUSTEE HAS EXTIMATED THE NET VALUE ACCORDINGLY
     AND ASSIGNED A MINIMAL VALUE.

     BASED ON FURTHER INVESTIGATION BY THE TRUSTEE OF
     DEBTOR'S RECORDS, THE AMOUNT OWED WAS $793,674.03
     FOR SERVICES PERFORMED UNDER THE GRANT FROM
     JANUARY 2019 THROUGH AUGUST 2019. HOWEVER,
     BECAUSE DEBTOR DID NOT PROPERLY ACCOUNT FOR
     GRANT PROCEEDS AND USED THE GRANT FOR
     ADMINISTRATIVE EXPENSES, THE CITY OF LOS ANGELES
     WHICH ADMINISTERS THE GRANT THUS FAR HAS NOT
     AGREED ANY AMOUNT IS OUTSTANDING. TRUSTEE IS
     CONTINUING TO ENGAGE IN DISCUSSIONS TO DETERMINE IF
     ANY VALUE AND BE REALIZED.

     FOLLOWING ADDITONAL INVESTIGATION AND REVIEW OF
     ACCOUNTING TRUSTEE DETERMINED THIS AMOUNT
     CANNOT BE RECOVERED.


 32. UNBILLED GRANT - CDE - 21ST CENTURY GRANT                                  4,176,181.68                           0.00                                                0.00                  FA
     EXPECTED EARLY DECEMBER 2019. PAYMENT OF COVER
     2ND QUARTER OF GRANT. AS OF FILING DATE $680,581.49 OF
     PAYROLL COSTS INCURRED. AMOUNT MAY BE SUBJECT TO
     OFFSET.

     THE TRUSTEE HAS SERIOUS CONCERNS THAT ANY AMOUNT
     CAN BE RECOVERED FROM THE FEDERAL GOVERNMENT ON
     THE UNBILLED GRANTS. THESE ARE REIMBURSEMENT
     GRANTS AND THE RECIPIENT MUST SHOW THAT THE FUNDS



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                             Asset Description                                Unscheduled         Less Liens, Exemptions,           Abandoned                Received by              Gross Value of Remaining Assets
                 (Scheduled and Unscheduled (u) Property)                       Values               and Other Costs)           OA=554(a) Abandon             the Estate

     RECCEIVED WERE USED FOR SPECIFIC PROGRAMS. GIVEN
     THE DEBTOR'S FINANCIAL DIFFICULTIES AND LACK OF
     INTERNAL CONTROLS IT CANNOT SHOW AND LIKELY DID
     NOT USE FUNDS DESIGNATED FOR SPECIFIC PROGRAMS.
     DEBTOR USED FUNDS FOR OTHER PROGRAMS IT WAS
     OPERATING AND FOR ADMINISTRATIVE/OVERHEAD
     EXPENSES NOT PERMITTED UNDER THE GRANT. FEDERAL
     AGENCIES HAVE ONGOING INVESTIGATIONS AND HAVE
     ISSUED SUBPOENAS.

     DEBTOR RECEIVED APPROXIMATELY $4.1M THE END OF
     SEPTEMBER 2019 FOR THE SECOND QUARTER OF 2019. IN
     ORDER TO RECEIVE THE SECOND ROUND OF FUNDING OF
     APPROXIMATELY $4.1 IN DECEMBER 2019 DEBTOR WOULD
     HAVED NEED TO SHOW PERMISSABLE GRANT EXPENSES
     BETWEEN JULY AND SEPTEMBER OF THIS AMOUNT.
     HOWEVER, DEBTOR'S PROPER EXPENSES WERE
     APPROXIMATELY $2.0M WHICH WAS NOT SUFFICIENT TO
     TRIGGER THE DECEMBER FUNIDNG.


 33. TRANSFER - KAISER PERMANENTE                                               1,282,345.45                     290,000.00                                           294,107.90                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. HEALTH INSURNACE PREMIUMS PAID IN FUNDS
     TRACEABLE TO EMPLOYEE WAGE WITHHOLDING.

     INITIALLY IT DID NOT APPEAR PAYMENTS COULD BE
     RECOVERED. UPON FURTHER REVIEW OF ACCOUNT DETAIL,
     TRUSTEE SENT A DEMAND LETTER AND DETERMINED IT
     WAS IN THE BEST INTERESTS OF THE ESTATE TO RESOLVE



LFORM1   UST Form 101-7-TFR (5/1/2011)                           (Page: 24)                                                    Exhibit A                                                                         Ver: 22.07i
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                                                                               Petition/      (Value Determined by Trustee,     Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                             Asset Description                                Unscheduled        Less Liens, Exemptions,           Abandoned                Received by             Gross Value of Remaining Assets
                 (Scheduled and Unscheduled (u) Property)                       Values              and Other Costs)           OA=554(a) Abandon             the Estate

     THE MATTER FOR $294,197.90 AFTER EXTENSIVE
     NEGOTIATIONS WHICH CONSIDERED POTENTIAL DEFENSES.



     ORDER APPROVING COMPROMISE ENTERED NOVEMBER 29,
     2021.


 34. TRANSFER - MDB INTERNATIONAL BRANDING LLC                                   207,305.13                           0.00                                                0.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. RENT PAID IN THE ORDINARY COURSE OF
     BUSINESS. THEREFORE, CANNOT BE RECOVERED AS A
     PREFERENCE.


 35. TRANSFER - PARAMOUNT CONTRACTORS & DEVELOPERS                               179,842.13                           0.00                                                0.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. RENT PAID IN THE ORDINARY COURSE OF
     BUSINESS. THEREFORE, CANNOT BE RECOVERED AS A
     PREFERENCE.


 36. TRANSFER - EXCEL INVESTMENTS, LLC                                            83,511.69                     40,000.00                                                 0.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. TRUSTEE IS INVESTIGATING.

     INVESTIGATION IS ONGOING. TRUSTEE HAS NOT
     COMMENCED ANY AVOIDANCE ACTIONS. IN ORDER TO
     EFFICIENTLY ADMINSITER POTENTIAL LITIGATION THE
     AVOIDANCE ACTIONS WILL BE COMMENCED AT THE SAME
     TIME.



LFORM1   UST Form 101-7-TFR (5/1/2011)                           (Page: 25)                                                   Exhibit A                                                                        Ver: 22.07i
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                             Asset Description                                Unscheduled        Less Liens, Exemptions,           Abandoned                Received by             Gross Value of Remaining Assets
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     TOTAL PAID DURING PREFERENCE PERIOD IS $27,837.23.
     PAYMENTS RELATE TO RENT AT ONE OF DEBTOR'S
     LOCATIONS AND TRUSTEE DETERMINED THAT CLAIM
     SHOULD NOT BE PURSUED AFTER CONSIDERING
     COST/BENEFIT AND RISK BENEFIT IN LIGHT OF AVAILABLE
     DEFENSES.


 37. TRANSFER - PLIC - SBD GRAND ISLAND                                           63,271.41                     30,000.00                                                 0.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. TRUSTEE IS INVESTIGATING.

     INVESTIGATION IS ONGOING. TRUSTEE HAS NOT
     COMMENCED ANY AVOIDANCE ACTIONS. IN ORDER TO
     EFFICIENTLY ADMINSITER POTENTIAL LITIGATION THE
     AVOIDANCE ACTIONS WILL BE COMMENCED AT THE SAME
     TIME.

     BASED ON FURTHER INVESTIGATION, TOTAL PREFERENCE IS
     $41,137.31 AND IS FOR EMPLOYEE BENEFITS. RELATED TO
     ASSET NUMBER 77.


 38. TRANSFER - ARMANINO LLP                                                      58,356.90                           0.00                                                0.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. PAYMENT MADE TO AUDITOR IN THE ORDINARY
     COURSE OF BUSINESS, SERVICES PERFORMED AND DEBTOR
     RECEIVED NEW VALUE. THEREFORE, CANNOT BE
     RECOVERED AS A PREFERENCE.




LFORM1   UST Form 101-7-TFR (5/1/2011)                           (Page: 26)                                                   Exhibit A                                                                        Ver: 22.07i
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                                                                               Petition/      (Value Determined by Trustee,     Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                             Asset Description                                Unscheduled        Less Liens, Exemptions,           Abandoned                Received by             Gross Value of Remaining Assets
                 (Scheduled and Unscheduled (u) Property)                       Values              and Other Costs)           OA=554(a) Abandon             the Estate


 39. TRANSFER - THOMASKELLY SOFTWARE ASSOCIATES                                   47,500.00                           0.00                                                0.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. TRUSTEE IS INVESTIGATING.

     THOMAS KELLY PROVIDES SOFTWARE AS A SERVICE.
     PAYMENTS DO NOT APPEAR TO BE ON ACCOUNT OF
     ANTECEDENT DEBT AND MADE IN THE ORDINARY COURSE
     OF BUSINESS.


 40. TRANSFER - AFLAC                                                             38,643.65                           0.00                                                0.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. EMPLOYEE BENEFITS PAID IN THE ORDINARY
     COURSE OF BUSINESS. THEREFORE, CANNOT BE
     RECOVERED AS A PREFERENCE.


 41. TRANSFER - FRESH START MEALS, INC.                                           38,000.00                           0.00                                                0.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. TRUSTEE IS INVESTIGATING.

     PAYMENTS DO NOT APPEAR TO BE ON ACCOUNT OF
     ANTECEDENT DEBT. REGULAR COURSE PAYMENTS FOR
     MEALS PROVIDED TO PROGRAM PARTICIPANTS.


 42. TRANSFER - PRINCIPAL'S EXCHANGE                                              34,420.00                     15,000.00                                            25,000.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. TRUSTEE IS INVESTIGATING.




LFORM1   UST Form 101-7-TFR (5/1/2011)                           (Page: 27)                                                   Exhibit A                                                                        Ver: 22.07i
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                             Asset Description                                Unscheduled        Less Liens, Exemptions,           Abandoned                Received by             Gross Value of Remaining Assets
                 (Scheduled and Unscheduled (u) Property)                       Values              and Other Costs)           OA=554(a) Abandon             the Estate


     INVESTIGATION IS ONGOING. TRUSTEE HAS NOT
     COMMENCED ANY AVOIDANCE ACTIONS. IN ORDER TO
     EFFICIENTLY ADMINSITER POTENTIAL LITIGATION THE
     AVOIDANCE ACTIONS WILL BE COMMENCED AT THE SAME
     TIME.

     TRUSTEE IDENTIFIED PAYMENT MADE DURING THE
     PREFERENCE PERIOD IN THE AMOUNT OF $34,420.

     UPON FURTHER REVIEW OF ACCOUNT DETAIL, TRUSTEE
     SENT A DEMAND LETTER AND DETERMINED IT WAS IN THE
     BEST INTERESTS OF THE ESTATE TO RESOLVE THE MATTER
     FOR $25,000.

     ORDER APPROVING COMPROMISE ENTERED NOVEMBER 29,
     2021.


 43. TRANSFER - MAXIMUS PROTECTIVE SERVICES                                       32,011.50                     15,000.00                                                 0.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. TRUSTEE IS INVESTIGATING.

     INVESTIGATION IS ONGOING. TRUSTEE HAS NOT
     COMMENCED ANY AVOIDANCE ACTIONS. IN ORDER TO
     EFFICIENTLY ADMINSITER POTENTIAL LITIGATION THE
     AVOIDANCE ACTIONS WILL BE COMMENCED AT THE SAME
     TIME.

     COMPANY CEASED OPERATING IN 2020 IN LARGE PART DUE



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                                                                    INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                       Page:      27
                                                                                                ASSET CASES
Case No:           2:19-23085     BB     Judge: SHERI BLUEBOND                                                                     Trustee Name:                     JASON M. RUND, TRUSTEE
Case Name:         YOUTH POLICY INSTITUTE, INC.                                                                                   Date Filed (f) or Converted (c):   11/05/19 (f)
                                                                                                                                  341(a) Meeting Date:               12/11/19
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                                                                                                   Estimated Net Value
                                                                               Petition/      (Value Determined by Trustee,     Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                             Asset Description                                Unscheduled        Less Liens, Exemptions,           Abandoned                Received by             Gross Value of Remaining Assets
                 (Scheduled and Unscheduled (u) Property)                       Values              and Other Costs)           OA=554(a) Abandon             the Estate

     TO THE UNPAID RECEIVABLE FROM THE DEBTOR. THE NET
     PREFERENCE AFTER NEW VALUE IS APPROXIMATELY $14,000
     AND TRUSTEE DETERMINED IN HIS BUSINESS JUDGMENT
     NOT TO PURSUE THE COMPANY OR THE OWNER.


 44. TRANSFER - SALEF                                                             31,010.00                     10,000.00                                                 0.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. TRUSTEE IS INVESTIGATING.

     INVESTIGATION IS ONGOING. TRUSTEE HAS NOT
     COMMENCED ANY AVOIDANCE ACTIONS. IN ORDER TO
     EFFICIENTLY ADMINSITER POTENTIAL LITIGATION THE
     AVOIDANCE ACTIONS WILL BE COMMENCED AT THE SAME
     TIME.

     TRANSFEREE IS THE SALVADORAN AMERICAN LEADERSHIP
     AND EDUCATION FUND THAT RECEIVED PAYMENTS TO
     PROVIDE PROGRAMS FOR PARTICIPANTS WHO RECEIVED
     SERVICES FROM DEBTOR. LIKELY STRONG NEW VALUE AND
     ORDINARY COURSE DEFENSES AVAILABLE. TRUSTEE
     DETERMINED IN HIS BUSINESS JUDGMENT NOT TO PURSUE
     RECOVERY.


 45. TRANSFER - VISION SERVICE PLAN                                               29,520.00                      7,500.00                                            7,500.00                   FA
     RANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. TRUSTEE IS INVESTIGATING.

     SERVICES PROVIDED. PAYMENTS DO NOT APPEAR TO BE ON




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Case No:           2:19-23085     BB     Judge: SHERI BLUEBOND                                                                     Trustee Name:                     JASON M. RUND, TRUSTEE
Case Name:         YOUTH POLICY INSTITUTE, INC.                                                                                   Date Filed (f) or Converted (c):   11/05/19 (f)
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                                                                                                   Estimated Net Value
                                                                               Petition/      (Value Determined by Trustee,     Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                             Asset Description                                Unscheduled        Less Liens, Exemptions,           Abandoned                Received by             Gross Value of Remaining Assets
                 (Scheduled and Unscheduled (u) Property)                       Values              and Other Costs)           OA=554(a) Abandon             the Estate

     ACCOUNT OF ANTECEDENT DEBT AND MADE IN THE
     ORDINARY COURSE OF BUSINESS. UPON FURTHER REVIEW
     OF ACCOUNT DETAIL, TRUSTEE SENT A DEMAND LETTER
     AND DETERMINED IT WAS IN THE BEST INTERESTS OF THE
     ESTATE TO RESOLVE THE MATTER FOR $7,500.

     ORDER APPROVING COMPROMISE ENTERED NOVEMBER 29,
     2021.


 46. TRANSFER - C3 BUSINESS SOLUTIONS                                             27,825.00                     12,000.00                                                 0.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. TRUSTEE IS INVESTIGATING.

     INVESTIGATION IS ONGOING. TRUSTEE HAS NOT
     COMMENCED ANY AVOIDANCE ACTIONS. IN ORDER TO
     EFFICIENTLY ADMINSITER POTENTIAL LITIGATION THE
     AVOIDANCE ACTIONS WILL BE COMMENCED AT THE SAME
     TIME.

     TRUSTEE RECEIVED INFORMATION ESTABLISHING A
     COMPLETE NEW VALUE DEFENSE FOR ALL PAYMENTS.


 47. TRANSFER - THE PRINCETON REVIEW                                              26,000.00                     20,000.00                                            20,000.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. TRUSTEE IS INVESTIGATING.

     SERVICES PROVIDED. PAYMENTS DO NOT APPEAR TO BE ON
     ACCOUNT OF ANTECEDENT DEBT AND MADE IN THE




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Case Name:         YOUTH POLICY INSTITUTE, INC.                                                                                   Date Filed (f) or Converted (c):   11/05/19 (f)
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                                                                                                   Estimated Net Value
                                                                               Petition/      (Value Determined by Trustee,     Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                             Asset Description                                Unscheduled        Less Liens, Exemptions,           Abandoned                Received by             Gross Value of Remaining Assets
                 (Scheduled and Unscheduled (u) Property)                       Values              and Other Costs)           OA=554(a) Abandon             the Estate

     ORDINARY COURSE OF BUSINESS. UPON FURTHER REVIEW
     OF ACCOUNT DETAIL, TRUSTEE SENT A DEMAND LETTER
     AND DETERMINED IT WAS IN THE BEST INTERESTS OF THE
     ESTATE TO RESOLVE THE MATTER FOR $20,000.

     ORDER APPROVING COMPROMISE ENTERED NOVEMBER 29,
     2021.


 48. TRANSFER - CALIFORNIA DENTAL NETWORKS, INC                                   25,421.93                      7,000.00                                            7,467.00                   FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. EMPLOYEE BENEFITS PAID IN THE ORDINARY
     COURSE OF BUSINESS. THEREFORE, CANNOT BE
     RECOVERED AS A PREFERENCE. SERVICES PROVIDED.
     PAYMENTS DO NOT APPEAR TO BE ON ACCOUNT OF
     ANTECEDENT DEBT AND MADE IN THE ORDINARY COURSE
     OF BUSINESS. UPON FURTHER REVIEW OF ACCOUNT DETAIL,
     TRUSTEE SENT A DEMAND LETTER AND DETERMINED IT
     WAS IN THE BEST INTERESTS OF THE ESTATE TO RESOLVE
     THE MATTER FOR $7,467.

     ORDER APPROVING COMPROMISE ENTERED NOVEMBER 29,
     2021.


 49. TRANSFER - CURTIN SECURITY COMPANY, INC.                                     22,020.00                     10,000.00                                                 0.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. TRUSTEE IS INVESTIGATING.

     INVESTIGATION IS ONGOING. TRUSTEE HAS NOT




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Case Name:         YOUTH POLICY INSTITUTE, INC.                                                                                   Date Filed (f) or Converted (c):   11/05/19 (f)
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                                                                                                   Estimated Net Value
                                                                               Petition/      (Value Determined by Trustee,     Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                             Asset Description                                Unscheduled        Less Liens, Exemptions,           Abandoned                Received by             Gross Value of Remaining Assets
                 (Scheduled and Unscheduled (u) Property)                       Values              and Other Costs)           OA=554(a) Abandon             the Estate

     COMMENCED ANY AVOIDANCE ACTIONS. IN ORDER TO
     EFFICIENTLY ADMINSITER POTENTIAL LITIGATION THE
     AVOIDANCE ACTIONS WILL BE COMMENCED AT THE SAME
     TIME.

     SECURITY SERVICES PROVIDED AT DEBTOR'S SYLMAR
     LOCATION. STRONG ORDINARY COURSE AND NEW VALUE
     DEFENSES AVAILABLE AS ONGOING SERVIES PROVIDED.
     TRUSTEE DETERMINED IN HIS REASONABLE BUSINESS
     JUDGMENT NOT TO PURSUE RECOVERY.


 50. TRANSFER - PENSION ASSURANCE LLP                                             18,000.00                           0.00                                                0.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. PAYMENT MADE IN CONNECTION WITH AUDIT OF
     RETIREMENT PLAN IN THE ORDINARY COURSE OF BUSINESS.
     THEREFORE, CANNOT BE RECOVERED AS A PREFERENCE.
     CROSS REFERENCES WITH ASSET NUMBER 15.


 51. TRANSFER - T. ROWE PRICE                                                     15,394.50                           0.00                                                0.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. RETIREMENT PLAN ADMINISTRATION SERVICES
     PAID IN THE ORDINARY COURSE OF BUSINESS. THEREFORE,
     CANNOT BE RECOVERED AS A PREFERENCE. CROSS
     REFERENCES WITH ASSET NUMBER 16.


 52. TRANSFER - VEDC                                                              12,000.00                      6,000.00                                                 0.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. TRUSTEE IS INVESTIGATING.



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                                                                                                   Estimated Net Value
                                                                               Petition/      (Value Determined by Trustee,     Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                             Asset Description                                Unscheduled        Less Liens, Exemptions,           Abandoned                Received by             Gross Value of Remaining Assets
                 (Scheduled and Unscheduled (u) Property)                       Values              and Other Costs)           OA=554(a) Abandon             the Estate


     INVESTIGATION IS ONGOING. TRUSTEE HAS NOT
     COMMENCED ANY AVOIDANCE ACTIONS. IN ORDER TO
     EFFICIENTLY ADMINSITER POTENTIAL LITIGATION THE
     AVOIDANCE ACTIONS WILL BE COMMENCED AT THE SAME
     TIME.

     DEBTOR USED SPACE AT VALLEY ECONOMIC DEVELOPMENT
     CENTER, INC (VEDC). VEDC FILED A CHAPTER 11
     BANKRUPTCY ON JULY 2, 2019 [1:19-11629-DS].


 53. TRANSFER - BENUCK & RAINEY, INC.                                             10,000.00                      5,000.00                                            8,500.00                   FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. TRUSTEE IS INVESTIGATING. COLLECTION AGENT
     FOR PROSIGHT SPECIALTY INSURANCE.

     INVESTIGATION IS ONGOING. TRUSTEE HAS NOT
     COMMENCED ANY AVOIDANCE ACTIONS. IN ORDER TO
     EFFICIENTLY ADMINSITER POTENTIAL LITIGATION THE
     AVOIDANCE ACTIONS WILL BE COMMENCED AT THE SAME
     TIME.

     COMPROMISE REACHED FOR $8,500. ORDER APPROVING
     COMPROMISE ENTERED NOVEMBER 29, 2021.


 54. TRANSFER - AMERICAN EXPRESS                                                 130,114.46                     70,000.00                                                 0.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. TRUSTEE IS INVESTIGATING.




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                                                                                                    Estimated Net Value
                                                                               Petition/       (Value Determined by Trustee,     Property Formally           Sale/Funds                Asset Fully Administered (FA)/
                             Asset Description                                Unscheduled         Less Liens, Exemptions,           Abandoned                Received by              Gross Value of Remaining Assets
                 (Scheduled and Unscheduled (u) Property)                       Values               and Other Costs)           OA=554(a) Abandon             the Estate


     INVESTIGATION IS ONGOING. TRUSTEE HAS NOT
     COMMENCED ANY AVOIDANCE ACTIONS. IN ORDER TO
     EFFICIENTLY ADMINSITER POTENTIAL LITIGATION THE
     AVOIDANCE ACTIONS WILL BE COMMENCED AT THE SAME
     TIME.

     NEW VALUE RECEIVED AFTER PAYMENTS MADE FOR A
     SIGNIFICANT AMOUNT AND UNAUTHORIZED AMERICAN
     EXPRESS PAYMENTS ARE PART OF THE RECOVERY SOUGHT
     IN CONNECTION WITH ASSET NUMBER 30.


 55. TRANSFER - CALIFORNIA COMMUNITY FOUNDATION                                 2,005,000.00                     400,000.00                                           400,000.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. TRUSTEE IS INFORMED THAT PAYMENT WAS MADE
     IN SATISFACTION OF A SECURED CLAIM. THEREFORE,
     CANNOT BE RECOVERED AS A PREFERENCE.

     TRUSTEE FURTHER ANALYZED MATTER AND DETERMINED
     PAYMENT WAS NOT IN CONNECTION WITH A SECURED
     CREDIT FACILITY. TRUSTEE SENT A DEMAND LETTER AND
     DETERMINED IT WAS IN THE BEST INTERESTS OF THE
     ESTATE TO RESOLVE THE MATTER FOR $400,000 AFTER
     EXTENSIVE NEGOTIATIONS AS REPAYMENT WAS MADE
     ACCORDING TO THE TERMS OF THE LOAN.

     ORDER APPROVING COMPROMISE MARCH 8, 2022.




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                                                                                                   Estimated Net Value
                                                                               Petition/      (Value Determined by Trustee,     Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                             Asset Description                                Unscheduled        Less Liens, Exemptions,           Abandoned                Received by             Gross Value of Remaining Assets
                 (Scheduled and Unscheduled (u) Property)                       Values              and Other Costs)           OA=554(a) Abandon             the Estate

 56. TRANSFER - FIRST INSURANCE                                                   38,528.88                           0.00                                                0.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. TRUSTEE IS INVESTIGATING.

     PAYMENTS DO NOT APPEAR TO BE ON ACCOUNT OF
     ANTECEDENT DEBT AND MADE IN THE ORDINARY COURSE
     OF BUSINESS FOR INSURANCE.


 57. TRANSFER - PROSIGHT INSURANCE                                                57,643.20                           0.00                                                0.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. TRUSTEE IS INVESTIGATING.

     EMPLOYEE BENEFITS PAID IN THE ORDINARY COURSE OF
     BUSINESS. THEREFORE, CANNOT BE RECOVERED AS A
     PREFERENCE.


 58. TRANSFER - ROBINS KAPLAN                                                     50,269.67                           0.00                                                0.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. ATTORNEYS FEES PAID IN THE ORDINARY COURSE
     OF BUSINESS. THEREFORE, CANNOT BE RECOVERED AS A
     PREFERENCE.


 59. TRANSFER - GROBSTEIN TEEPLE                                                  50,000.00                           0.00                                                0.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. ACCOUNTANT FEES PAID IN THE ORDINARY
     COURSE OF BUSINESS. THEREFORE, CANNOT BE
     RECOVERED AS A PREFERENCE.




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                                                                                                   Estimated Net Value
                                                                               Petition/      (Value Determined by Trustee,     Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                             Asset Description                                Unscheduled        Less Liens, Exemptions,           Abandoned                Received by             Gross Value of Remaining Assets
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 60. TRANSFER - WITHDRAWL MOVERS                                                   8,220.00                           0.00                                                0.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. MOVING EXPENSES PAID IN THE ORDINARY
     COURSE OF BUSINESS. THEREFORE, CANNOT BE
     RECOVERED AS A PREFERENCE.


 61. TRANSFER - TROWE PRICE                                                       10,263.00                           0.00                                                0.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. RETIREMENT PLAN ADMINISTRATION SERVICES
     PAID IN THE ORDINARY COURSE OF BUSINESS. THEREFORE,
     CANNOT BE RECOVERED AS A PREFERENCE. CROSS
     REFERENCES WITH ASSET NUMBER 16.


 62. TRANSFER - PENSION ASSURANCE LLP                                             17,100.00                           0.00                                                0.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. RETIREMENT PLAN ADMINISTRATION SERVICES
     PAID IN THE ORDINARY COURSE OF BUSINESS. THEREFORE,
     CANNOT BE RECOVERED AS A PREFERENCE.


 63. TRANSFER - KRAVITZ                                                           18,275.00                           0.00                                                0.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. RETIREMENT PLAN ADMINISTRATION SERVICES
     PAID IN THE ORDINARY COURSE OF BUSINESS. THEREFORE,
     CANNOT BE RECOVERED AS A PREFERENCE.


 64. TRANSFER - DIXON SLINGERLAND                                                 60,347.66                           0.00                                                0.00                  FA




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                                                                                                  Estimated Net Value
                                                                               Petition/     (Value Determined by Trustee,     Property Formally           Sale/Funds               Asset Fully Administered (FA)/
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                 (Scheduled and Unscheduled (u) Property)                       Values             and Other Costs)           OA=554(a) Abandon             the Estate

     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFIARS. TRUSTEE IS INVESTIGATING. CROSS REFERENCES
     WITH ASSET NUMBER 30 AND INCLUDED THEREIN.


 65. VEHICLE - FORD PASSENGER VAN                                                  Unknown                      5,000.00                                                 0.00                  FA
     DEBTOR IDENTIFIED THE FORD PASSENGER VAN ON THE
     STATEMENT OF FINANCIAL AFFAIR OWNED BY THE
     DEPARTMENT OF LABOR. TRUSTEE'S INVESTIGATION
     REVEALS THE DEBTOR OWNS A 2014 FORD PASSENGER VAN
     FREE AND CLEAR. SCOTT VAN HORN OF VAN HORN
     AUCTION AND APPRAISAL GROUP INFORMED THE TRUSTEE
     THE VALUE IS APPROXIMATELY $6,000. AFTER COSTS OF
     SALE AND ADMINISTRATIVE EXPENSES THE VAN MAY NOT
     HAVE MEANINGFUL VALUE. TRUSTEE IS INVESTIGATING
     WHETHER THERE IS A MEANS TO EFFICIENTLY ADMINISTER
     THE ASSET AS THERE APPEARS TO BE A LIMITED MARKET
     FOR THIS TYPE OF VEHICLE. TRUSTEE IS INVESTIGATING
     WHETHER VEHICLE CAN BE LIQUIDATED. TRUSTEE
     DETERMINED THE UNCERTAINTY OF A FINAL SALES PRICES
     AT AUCTION TOGETHER WITH THE ANTCIIPATED
     ADMINISTRATIVE EXPENSES TO REALIZE VALUE IS
     OUTWEIGHED BY THE BENEFIT TO THE BANKRUPTCY
     ESTATE.

     TRUSTEE OBTAINED INSURANCE THROUGH GREAT
     AMERICAN INSURANCE GROUP, POLICY NUNBER 1134134,
     VALID UNTIL CANCELLED.

     NOTICE OF ABANDONMNET FILED MAY 27, 2020. THERE WAS



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                                                                                                   Estimated Net Value
                                                                               Petition/      (Value Determined by Trustee,     Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                             Asset Description                                Unscheduled        Less Liens, Exemptions,           Abandoned                Received by             Gross Value of Remaining Assets
                 (Scheduled and Unscheduled (u) Property)                       Values              and Other Costs)           OA=554(a) Abandon             the Estate

     NO RESPONSE OR REQUEST FOR A HEARING.


 66. CONTRIBUTION TO DEBTOR - BANK OF AMERICA (u)                                      0.00                     50,000.00                                            50,000.00                  FA
     DURING INITIAL MEETING WITH CHIEF EXECUTIVE OFFICER,
     COUNSEL AND FINANCIAL ADVISOR, A CHECK WAS
     DELIVERED TO THE TRUSTEE REPRESENTING A
     CONTRIBTION/DONATION TO DEBTOR.


 67. GRANTS - NOT REFLECTED IN SCHEDULES (u)                                           0.00                           0.00                                           13,787.50                  FA
     DURING INITIAL MEETING WITH CHIEF EXECUTIVE OFFICER,
     COUNSEL AND FINANCIAL ADVISOR, CHECKS WERE
     DELIVERED TO THE TRUSTEE REPRESENTING GRANT AND
     GRANT REIMBURSEMENTS WHICH DO NOT APPEAR TO
     RELATE TO THE SCHEDULED GRANTS. TRUSTEE ALSO
     RECOVERED ON CHECK DURING A SITE VISIT.


 68. REFUND - KEY DEPOSIT (u)                                                          0.00                         50.00                                                 50.00                 FA
     TRUSTEE RECOVERED FROM DEBTOR A CHECK FROM THE
     FORMER LANDLORD OF THE SUNSET BOULEVARD
     EXECUTIVE OFFICE REPRESENTING THE RETURN OF A KEY
     DEPOSIT.


 69. REFUND - INSURANCE (u)                                                            0.00                      2,228.94                                             2,228.94                  FA
     TRUSTEE RECOVERED FROM DEBTOR A CHECK FROM THE
     BERKLEY LIFE AND HEALTH REPRESENTING AN INSURANCE
     REFUND.




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                                                                                                   Estimated Net Value
                                                                               Petition/      (Value Determined by Trustee,     Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                             Asset Description                                Unscheduled        Less Liens, Exemptions,           Abandoned                Received by             Gross Value of Remaining Assets
                 (Scheduled and Unscheduled (u) Property)                       Values              and Other Costs)           OA=554(a) Abandon             the Estate

 70. FINANCIAL ACCOUNT - CITIBANK (u)                                                  0.00                      1,968.62                                            1,968.62                   FA
     ACCOUNT NUMBER ENDING 0190. TRUSTEE REQUESTED
     TURNOVER OF ALL CITIBANK ACCOUNTS. IN ADDITION TO
     THE SCHEDULED ACCOUTS [ASSETS 4 THROUGH 8] THE
     BANK PROVIDED FUNDS FROM TWO ADDITIONAL
     ACCOUNTS.


 71. FINANCIAL ACCOUNT - CITIBANK (u)                                                  0.00                         85.00                                                 85.00                 FA
     ACCOUNT NUMBER ENDING 0216. TRUSTEE REQUESTED
     TURNOVER OF ALL CITIBANK ACCOUNTS. IN ADDITION TO
     THE SCHEDULED ACCOUTS [ASSETS 4 THROUGH 8] THE
     BANK PROVIDED FUNDS FROM TWO ADDITIONAL
     ACCOUNTS.


 72. CITY OF LOS ANGELES (u)                                                           0.00                           0.00                                           1,579.23                   FA
     MISCELLANEOUS REFUNDS FROM THE CITY OF LOS
     ANGELES DEPARTMENT OF BUILDING AND SAFETY
     REGARDING DEBTOR'S FORMER LOCATION AT 2702 WEST
     BEVERLY BOULEVARD, LOS ANGELES.


 73. FINANCIAL ACCOUNT - UNIVERSAL BANK (u)                                            0.00                      1,336.38                                            1,336.38                   FA
     TRUSTEE DISCOVERED THIS ACCOUNT DURING A REVIEW OF
     DEBTOR RECORDS AND REQUESTED TURNOVER.


 74. FUTA OVERPAYMENT - 2016 (u)                                                       0.00                     86,000.00                                            4,820.96                   FA
     DEBTOR WAS A NOT PROFIT CORPORATION AND THEREFORE
     NOT REQUIRED TO FEDERAL UNEMPLOYMENT TAXES




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                                                                                                 Estimated Net Value
                                                                               Petition/    (Value Determined by Trustee,     Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                             Asset Description                                Unscheduled      Less Liens, Exemptions,           Abandoned                Received by             Gross Value of Remaining Assets
                 (Scheduled and Unscheduled (u) Property)                       Values            and Other Costs)           OA=554(a) Abandon             the Estate

     (FUTA). TRUSTEE, WITH THE ASSITANCE OF HIS
     ACCOUNTANT, HAS CONTACTED THE INTERNAL REVENUE
     AND IS ATTEMPT TO HAVE THE AMOUNT INCORRECTLY PAID
     REFUNDED. THE DEBTOR SCHEDULED THE 2017 AND 2018
     FUTA OVERPAYMENTS AS SEPARATE ASSETS BUT DID NOT
     SCHEDULE 2016.

     THE TRUSTEE HAS INVESTIGATED THE DISCLOSED CLAIM OF
     NONPROFIT FINANANCE FUND ("NFF"), AND UNDERSTANDS
     THAT NFF ASSERTS THAT, AS OF THE PETITION DATE, THE
     DEBTOR WAS INDEBTED TO NFF ON A SECURED LOAN
     OBLIGATION IN THE APPROXIMATE AGGREGATE PRINCIPAL
     AMOUNT OF $4,350,000 (THE "NFF SECURED CLAIM")
     PURSUANT TO, INTER ALIA, A SECURITY AGREEMENT
     PURSUANT TO WHICH THE THE DEBTOR PLEDGED
     SUBSTANTIALLY ALL OF ITS ASSETS UNDER THE NFF LOAN
     AND PERFECTED PURSUANT TO UCC-1 FILINGS WITH THE
     WASHINGTON D.C. SECRETARY OF STATE. THE TRUSTEE IS
     CURRENTLY NEGOTIATING A STIPULATION TO RESOLVE ALL
     ISSUES WITH RESPECT TO THE NFF CLAIM AND PROVIDE A
     CARVE OUT FOR THE BANKRUPTCY ESTATE IN THE AMOUNT
     OF 50% OF THE TAX OVERPAYMENT. THEREFORE, THE
     TRUSTEE HAS EXTIMATED THE NET VALUE ACCORDINGLY.

     CURRENT STATUS: AN ORIGINAL RETURN WAS FILED
     INCORRECTLY PAYING TAXES IN THE AMOUNT OF
     $167,673.93. AN AMENDED RETURN WAS FILED REDUCING
     THE DEBTOR'S TAXES FOR THIS PERIOD TO $0.00. IT DOES
     NOT APPEAR THIS RETURN WAS PROPERLY POSTED TO THE




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                                                                                                   Estimated Net Value
                                                                               Petition/      (Value Determined by Trustee,     Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                             Asset Description                                Unscheduled        Less Liens, Exemptions,           Abandoned                Received by             Gross Value of Remaining Assets
                 (Scheduled and Unscheduled (u) Property)                       Values              and Other Costs)           OA=554(a) Abandon             the Estate

     DEBTOR'S 2016 ACCOUNT PER THE TAX TRANSCRIPT. A
     REFUND WAS RECEIVED IN THE AMOUNT OF $4,820.96. IT IS
     ANTICIPATED THAT AN ADDITIONAL REFUNDS IN THE
     AMMOUNT OF $162,852.04 PLUS INTEREST SHOULD BE
     RECEIVED. AFTER NUMEROUS ATTEMPTS, THE REMAINING
     BALANCE DOES NOT APPEAR RECOVERABLE.


 75. FUTA OVERPAYMENT - 2019 (u)                                                       0.00                     30,490.83                                                 0.00                  FA
     DEBTOR WAS A NOT PROFIT CORPORATION AND THEREFORE
     NOT REQUIRED TO FEDERAL UNEMPLOYMENT TAXES
     (FUTA). TRUSTEE, WITH THE ASSITANCE OF HIS
     ACCOUNTANT, HAS CONTACTED THE INTERNAL REVENUE
     AND IS ATTEMPT TO HAVE THE AMOUNT INCORRECTLY PAID
     REFUNDED. THE DEBTOR SCHEDULED THE 2017 AND 2018
     FUTA OVERPAYMENTS AS SEPARATE ASSETS BUT DID NOT
     SCHEDULE 2016.

     THE TRUSTEE HAS INVESTIGATED THE DISCLOSED CLAIM OF
     NONPROFIT FINANANCE FUND ("NFF"), AND UNDERSTANDS
     THAT NFF ASSERTS THAT, AS OF THE PETITION DATE, THE
     DEBTOR WAS INDEBTED TO NFF ON A SECURED LOAN
     OBLIGATION IN THE APPROXIMATE AGGREGATE PRINCIPAL
     AMOUNT OF $4,350,000 (THE "NFF SECURED CLAIM")
     PURSUANT TO, INTER ALIA, A SECURITY AGREEMENT
     PURSUANT TO WHICH THE THE DEBTOR PLEDGED
     SUBSTANTIALLY ALL OF ITS ASSETS UNDER THE NFF LOAN
     AND PERFECTED PURSUANT TO UCC-1 FILINGS WITH THE
     WASHINGTON D.C. SECRETARY OF STATE. THE TRUSTEE IS
     CURRENTLY NEGOTIATING A STIPULATION TO RESOLVE ALL



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                                                                                                   Estimated Net Value
                                                                               Petition/      (Value Determined by Trustee,     Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                             Asset Description                                Unscheduled        Less Liens, Exemptions,           Abandoned                Received by             Gross Value of Remaining Assets
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     ISSUES WITH RESPECT TO THE NFF CLAIM AND PROVIDE A
     CARVE OUT FOR THE BANKRUPTCY ESTATE IN THE AMOUNT
     OF 50% OF THE TAX OVERPAYMENT. THEREFORE, THE
     TRUSTEE HAS EXTIMATED THE NET VALUE ACCORDINGLY.

     CURRENT STATUS: AN ORIGINAL RETURN WAS FILED
     SHOWING AN OVERPAYMENT OF $30,490.83. THIS CREDIT
     WAS APPLIED AGAINST THE IRS CALCULATED
     UNDERPAYMENT TOWARD THE 2016 FORM 940 TAXES
     [ASSET NUMBER 74]. IT IS ANTICIPATED THAT AN
     ADDITIONAL REFUNDS IN THE AMMOUNT OF $162,852.04
     PLUS INTEREST SHOULD BE RECEIVED. AFTER NUMEROUS
     ATTEMPTS, THE REMAINING BALANCE DOES NOT APPEAR
     RECOVERABLE.


 76. FINANCIAL ACCOUNT - WELLS FARGO BANK (u)                                          0.00                         10.54                                                 10.54                 FA
     TRUSTEE RECEIVED A MISCELLANEOUS PAYMENT FROM
     WELLS FARGO BANK. TRUSTEE WAS SUBSEQUENTLY
     ADVISED BY WELLS FARGO THAT THE PAYMENT
     REPRESENTS A CALIFORNIA STATE DISABILITY EMPLOYEE
     (CASDIEE) REFUND FOR DECEMBER 28, 2017.


 77. PREFERENCE - PRINCIPAL LIFE INSURANCE (u)                                         0.00                     10,000.00                                            10,000.00                  FA
     TRUSTEE IDENTIFIED PAYMENT MADE DURING THE
     PREFERENCE PERIOD IN THE AMOUNT OF $59,372.26.

     UPON FURTHER REVIEW OF ACCOUNT DETAIL, TRUSTEE
     SENT A DEMAND LETTER AND DETERMINED IT WAS IN THE




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                                                                                                              Estimated Net Value
                                                                                        Petition/        (Value Determined by Trustee,        Property Formally           Sale/Funds                 Asset Fully Administered (FA)/
                              Asset Description                                        Unscheduled          Less Liens, Exemptions,              Abandoned                Received by               Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                               Values                and Other Costs)              OA=554(a) Abandon             the Estate

     BEST INTERESTS OF THE ESTATE TO RESOLVE THE MATTER
     FOR $10,000 AS SOME AS SOME OF THE PAYMENTS WERE TO
     AN ORDINARY COURSE DEFENSE.

     ORDER APPROVING COMPROMISE ENTERED NOVEMBER 30,
     2021.


 78. VOID (u)                                                                               Unknown                                 0.00                                                0.00                     FA


 79. FINANCIAL ACCOUNT - CITIBANK (SAVINGS) (u)                                                  0.00                          3,717.81                                             3,717.81                     FA
     TRUSTEE RECENTLY LEARNED OF AN ABANDONED
     ACCOUNT AND REQUESTED TURNOVER OF BANK ACCOUNT
     FUNDS. ACCOUNT NUMBER ENDING IN 7454.


 INT. Post-Petition Interest Deposits (u)                                                   Unknown                                 N/A                                            16,506.81                 Unknown

                                                                                                                                                                                                  Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                     $13,952,798.62                    $2,810,370.26                                        $6,677,810.76                             $0.00
                                                                                                                                                                                                  (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   CLOSING SUMMARY:


   Case Background:




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   The debtor was a non-profit corporation which operated after-school and extracurricular programs at nearly 100 sites in
   the Los Angeles area and focused on the highest need communities. In operating these programs, the debtor was funded
   primarily through sizeable federal and state government grants. In fact, the debtor's most recent publicly available
   tax return shows grants totaling more than $40 million for both fiscal years 2016/2017 and 2015/2016. In early 2019, an
   audit revealed irregularities in expense reimbursements made to the former CEO, Dixon Singerland ("Singerland"), and
   inaccurate disclosures and reports made in connection with the various grants the debtor received. The debtor's Board
   of Directors therefore formed a special committee and investigated these irregularities and, through its investigations
   concluded that Singerland used the debtor's funds for unauthorized and personal expenditures, and further directed
   inaccurate reporting to certain government agencies.


   Grand Jury Subpoena:


   The events relating to alleged falsified and/or incorrect reporting to government agencies, prompted numerous government
   agencies to launch investigations into the affairs of the debtor and Slingerland. One such investigation was initiated
   by the U.S. Department of Labor (the "DOL"), as to which the United States Department of Justice (the "DOJ") issued and
   served a grand jury subpoena on the Trustee on around November 26, 2019 which was shortly after the petition date. The
   Grand Jury Subpoena required immediate and ongoing attention of the trustee and his counsel with respect to the
   trustee's obligations thereunder. Slingerland was ultimately charged in an Information and entered in a plea in Central
   District of California case number 2:23-cr-00017-DMG. Sentencing is pending.


   Estate Administration Overview:


   The debtor's financial affairs are wide-ranging and complex and through this summary the trustee will provide an
   overview of assets administered and the results obtained for the benefit of creditors. Greater detail is also provided
   in the various fee applications filed by the trustee's professionals.


   The debtor's headquarters, known as the Beverly Facility, played a central role in the bankruptcy proceedings. Located
   at 2707-11 Beverly Boulevard, Los Angeles, this commercial space consisted of approximately 29,024 square feet,
   incorporating office space, a warehouse, loading dock, and rooftop parking. As of the Petition Date, there were 35
   months left on this lease, which on December 1, 2017, and was set to expire on November 30, 2022. The lease mandated a
   base rent of around $67,000.00 per month, along with additional charges.




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   The trustee visited the Beverly Facility multiple times either alone or sometimes with his counsel or field agent. The
   facility contained a substantial amount of the debtor's personal property. There were approximately 67 steel file
   cabinets and over two-hundred file boxes which needed to be addressed in connection with the Grand Jury Subpoena. In
   addition, the investigation revealed that prior to the petition date, the debtor had entered into an unauthorized
   arrangement with Think Together (TT), a non-profit organization, which had begun utilizing the space without the
   landlord's consent. The lease was rejected and the landlord's administrative rent claim was resolved pursuant to a
   compromise order entered on June 4, 2020 [Docket No. 134] and personal property was abandoned pursuant to an order
   entered March 13, 2020 [Docket No. 98].


   Beyond the Beverly Facility, other locations also required attention. For instance, the debtor operated from a facility
   in Sylmar, a distribution and warehouse space spanning 7,000 square feet. Similarly, other sites such as the San
   Fernando Gardens and the Pacoima Entrepreneurial Center were discovered as minor operational locations. The trustee
   inspected these facilities and with the assistance of counsel worked to abandon personal property at these facilities
   and reject leases as necessary.


   In addition to the facilities where the debtor operated, multiple storage facilities were discovered containing the
   debtor's personal property. Twelve storage units at Arleta Storage, a unit at Nova Storage, and another unit at Extra
   Space Storage were among these locations. The investigation and management of these storage units were intricate due to
   the Grand Jury Subpoena. The process involved evaluating the potential presence of responsive documents and coordinating
   with various governmental agencies. The storage units were abandoned as set forth on docket numbers 74, 113, 122, 141.


   The debtor's Schedules and Statement of Affair disclosed significant grant receivables, including billed and unbilled
   amounts from various agencies such as the California Department of Education (CDE) and the U.S. Department of Education
   (DOE). However, the investigation revealed that the disclosed receivables were overstated and often subject to offsets.
   The trustee with the assistance of his counsel embarked on efforts to collect these receivables, leading to
   negotiations and compromises resulting in the recovery of $590,583.11.


   Investigations into potential preference claims involved reviewing payments made by the Debtor during the 90-day
   pre-petition period. This included payments to entities like The Princeton Review, Benuck & Rainey, Inc., Orenda
   Education, Vision Service Plan (VSP), Kaiser Foundation Health Plan, Inc., and California Dental Network (CDN).
   Trustee's counsel negotiated settlements for these claims, leading to a recovery of $362,574.90. Furthermore, a separate
   potential preference claim against California Community Foundation (CCF) led to a settlement payment of $400,000.




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   Preference claims were resolved via settlement pursuant to orders as detailed on Form 1.


   In light of the information the trustee learned regarding the actions of Slingerland and others, the Trustee along with
   his counsel, investigated the potential claims regarding the apparent theft of at least $1.9 million of the company's
   funds in the five years leading up to the bankruptcy case and the misreporting of information to the various government
   agencies regarding grants. Trustee's counsel engaged in extensive negotiations with Hanover Insurance Company regarding
   coverage under a crime insurance policy.


   When the efforts to recover under the crime policy claim were unsuccessful, further investigation occurred regarding
   potential claims (the "Commercial Tort Claims") against Slingerland, his wife Susanne Steinke ("Ms. Steinke"), her
   professional corporation Suzanne M. Steinke a Professional Corporation ("Steinke APC"), YPI's former CFO Steven Schultz
   ("Schultz"), and the debtor's former auditor Hill Morgan and Associates ("Hill Morgan"). With respect to the Commercial
   Tort Claims, the trustee ultimately engaged special counsel, The Law Office of Philip Dracht ("Dracht") to pursue those
   claims on a contingency fee arrangement. The Bankruptcy Court approved Dracht's employment by order entered on August
   20, 2021 [Docket No. 184]. On November 3, 2021, Dracht filed a complaint on behalf of the bankruptcy estate against
   Slingerland, Ms. Steinke, Steinke APC, Mr. Schultz, and Hill Morgan (collectively, "Defendants") initiating adversary
   no. 2:21-ap-01221-BB (the "Adversary Proceeding").


   Multiple mediations occurred between the trustee and defendants/insurers which ultimately resulted in settlement whereby
   an aggregate settlement payment of $4,886,796.00. The settlement was approved by order of the Bankruptcy Court entered
   on February 8, 2023 [Docket No. 246].


   The debtor maintained two retirement plans, a 401(k) plan and a 403(b) plan. These plans comprised approximately 331
   employee accounts, and according to section 704(a)(11) of the Bankruptcy Code, it became the Trustee's responsibility to
   take over the administration of the Debtor 401(k) Plan. The Trustee collaborated with Kravitz, LLC, which agreed to
   assist with the termination process. The termination process was complex and involved negotiations, administrative
   steps, and collaboration between multiple parties. Though Kravitz was able to assist in much of the 401(k) termination
   process, Kravitz was unable to complete the final process of administering the accounts of approximately 186
   participants in the 401(k) Plan that did not respond to the various notices relating to the 401(k) termination. The
   Trustee engaged the services of PenChecks Trust Company of America ("PenChecks") as reflected in the Stipulation Between
   Chapter 7 Trustee and PenChecks Trust Company of America Regarding Final Wind-Down and Dissolution of the Debtor's
   401(k) Plan [Docket No. 151], which the Bankruptcy Court approved by order entered September 8, 2020 [Docket No. 153].




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   All funds were disbursed to participants.


   This is a summary of the major actions and administration of other assets are detailed on Form 1.


   Claim Issues:


   The Trustee and counsel reviewed the claims filed against the bankruptcy estate and determined that there were many
   claims that needed to be addressed. Claims were resolved through stipulations or amendments without the need to file
   formal objections.


   Tax Issues:


   The bankruptcy estate's tax returns were filed on or about July 3, 2023 for fiscal years ending June 30, 2018 thru June
   30, 2023. The tax returns were filed in compliance with 11 U.S.C. § 505(b) more than 60 days ago but the clearance
   letter has not been received. The returns are deemed accepted and the trustee discharged from tax liability by virtue
   of 11 U.S.C. § 505(b). The priority tax claim filed by the Franchise Tax Board is provided for in the Trustee's
   proposed distribution and will be paid at closing.


   The Trustee will remit payroll tax withholding deductions and the employer's payroll tax obligations (administrative
   taxes) to the Internal Revenue Service and Employment Development Department after the payroll tax returns are prepared
   post distribution. The total employee payroll deductions are $28,442.05 and the employer portion of the payroll taxes
   are $18,118.52.


   Professionals:


   The Trustee determined, in his reasonable business judgment that the issues presented warranted obtaining legal counsel.
   The Trustee retained Greenberg Glusker Fields Claman & Machtinger LLP and an Order Authorizing Employment was entered
   on January 10, 2020 effective November 11, 2019, docket number 66 and the final fee application is docket number 265.


   The Trustee retained Donald T. Fife, CPA of Hahn Fife & Company, LLP as the estate's accountant to prepare the necessary
   corporate tax returns for fiscal years ending June 30, 2018 thru June 30, 2023 and perform other accounting and
   financial duties assigned by the Trustee. The Order Authorizing Employment was entered January 8, 2020, docket number




LFORM1   UST Form 101-7-TFR (5/1/2011)                                    (Page: 47)                                          Exhibit A                                                               Ver: 22.07i
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                                                                                 INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                 Page:      46
                                                                                                                ASSET CASES
Case No:             2:19-23085       BB    Judge: SHERI BLUEBOND                                                                 Trustee Name:                      JASON M. RUND, TRUSTEE
Case Name:           YOUTH POLICY INSTITUTE, INC.                                                                                 Date Filed (f) or Converted (c):   11/05/19 (f)
                                                                                                                                  341(a) Meeting Date:               12/11/19
                                                                                                                                  Claims Bar Date:                   03/17/20
   60 and the final fee application is docket number 266.


   Due to the large number of facilities, storage units, extensive personal property and the issues concerning preservation
   and compliance with the Grand Jury Subpoena, the trustee required the assistance of a field representative. The trustee
   retained Tony H. Shokrai of Interco Management Corporation. Order Authorizing Employment of Interco Management
   Corporation was entered January 28, 2020, docket number 81 and the final fee application is docket number 264.


   With respect to the Commercial Tort Claims, the trustee ultimately engaged special counsel, The Law Office of Philip
   Dracut to pursue those claims on a contingency fee arrangement. The Bankruptcy Court approved Dracht's employment by
   order entered on August 20, 2021, docket number 184. No additional fees or expenses are owed to this firm.


   The trustee also retained David Oshiro, debtor's former controller, as a paraprofessional to assist with the collection
   of the grant receivables. Mr. Oshiro provided limited support to the trustee's efforts. Mr. Oshiro did not request
   payment, file a fee application and the trustee has not heard from him in over two years.


   The debtor's former retirement plan consultant, Barbara Schwartz, filed a Proof of Claim in the total amount of $590.63
   claiming priority status and cites 11 U.S.C. § 503(b)(1)(A) for post-petition services. The trustee did not employ Ms.
   Schwartz and did not consider her a retained professional. The trustee communicated with her a few times early in the
   case to obtain necessary background information. Due to the small amount of the claim, the trustee is proposing to pay
   Ms. Schwartz as an administrative claimant considering the costs to otherwise adjudicate her entitlement to the claim.


   Distribution to Creditors:


   After full payment of over $1.1 million in priority claims, the trustee's administration of this estate is resulting in
   a 11% dividend to the general unsecured creditors with timely filed claims.


   Trustee's Fee:


   The Trustee submits that he effectively and efficiently administered this bankruptcy estate and therefore respectfully
   requests that pursuant to 11 U.S.C. §§ 326(a) and 330(a)(7) that a statutory fee/commission be allowed in the amount of
   $233,584.32. The requested fee is calculated on compensable receipts/disbursements of $6,677,810.76 as follows:




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                                                                                                              ASSET CASES
Case No:             2:19-23085       BB     Judge: SHERI BLUEBOND                                                               Trustee Name:                      JASON M. RUND, TRUSTEE
Case Name:           YOUTH POLICY INSTITUTE, INC.                                                                                Date Filed (f) or Converted (c):   11/05/19 (f)
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   25% of the first $5,000 =    $ 1,250.00
   10% of the next $45,000 = $ 4,500.00
   5% of the next $950,000 = $47,500.00
   3% of the Balance =         $170,334.32
   Total Fee: $223,584.32


   The trustee waives any increase in his statutory fee based on any future interest earned after the Trustee's Final
   Report has been prepared and the ultimate disbursement of funds. Pursuant to the United States Trustee memorandum dated
   March 25, 2002, all estate funds will remain in an interest bearing account until the trustee is ready to distribute
   the funds. Therefore, it is anticipated that the creditors who will receive dividends pursuant to this final report
   will receive a fractional amount more as a result of the additional accrued interest.


   Bank Service Fees:


   Pursuant to General Order 11-02, the Trustee has incurred and paid bank fees and charges directly related to the
   administration of the estate in the amount of $47,421.34. The Trustee seeks approval of this amount pursuant to 11
   U.S.C. § 330.


   Expenses:


   The Trustee is requesting a sum of $6,377.13 expenses paid. The primary portion of these expenses, totaling $5,600, is
   the amount paid by the trustee to the debtor's payroll service. This payment was made to acquire the 2019 W-2 forms for
   over 1900 employees. The remaining portion of the expenses includes minor amounts for photocopies, postage, and
   projected expenses related to the acquisition and mailing of the 2023 Forms W-2s to the wage claimants.




   PROCEDURAL SUMMARY THROUGH MARCH 31, 2023:


   The Debtor's financial affairs are wide ranging and complex and have been extensively investigated. The remaining asset
   being administered is the litigation against the debtor's former chief executive officer and chief financial officer.
   Please refer to asset number 30 for a detailed description. A settlement has been reached which will result in the
   bankruptcy estate receiving $4,886,796 consisting of $4,761,696 from two insurance companies and $125,000 from Dixon




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Case No:             2:19-23085       BB    Judge: SHERI BLUEBOND                                                                 Trustee Name:                      JASON M. RUND, TRUSTEE
Case Name:           YOUTH POLICY INSTITUTE, INC.                                                                                 Date Filed (f) or Converted (c):   11/05/19 (f)
                                                                                                                                  341(a) Meeting Date:               12/11/19
                                                                                                                                  Claims Bar Date:                   03/17/20
   Slingerland. Order approving compromise entered February 8, 2023. The settlement funds from the insurance companies
   have been received and payment of $125,000 from Dixon Slingerland is due by April 30, 2023 at which time the estate will
   be fully administered. All claims have been reviewed and theTrustee is addressing issues directly with creditors to
   resolve. The Trustee does not anticipate claims or tax issues will impact closing.


   Dixon Slingleland, the debtor's former Chief Exeuctive Officer, entered a plead guilty on March 8, 2023 to a two count
   information charging him with conversion and misapplication of funds received from the debtor in the United States
   District Court, Central District of California case number CR 23-17-DMG. Sentencing is scheduled on July 25, 2023.


   PROCEDURAL SUMMARY THROUGH DECEMBER 31, 2022:


   The Debtor's financial affairs are wide ranging and complex and have been extensively investigated. The remaing asset
   being administered is the litigation against the debtor's former chief executive officer and chief financial officer.
   Please refer to asset number 30 for a detailed description. A settlement has been reached which will result in the
   bankruptcy estate receiving $4,920,000 consisiting of $4,795,000 from two insurance companies and $125,000 from the
   former chief financial officer by April 30, 2023. Drafts of the Settlement Agreement are current being circulated
   between the parites. All claims have been reviwed and the Trustee is addressing issues directly with creditors to
   resolve.


   PROCEDURAL SUMMARY THROUGH MARCH 31, 2022:


   The Debtor's financial affairs are wide ranging and complex and have been extensively investigated. The primary remaing
   asset being administered is the litigation against the debtor's former chief executive officer. Mediation is scheduled
   on May 2, 2022. Please refer to asset number 30 for a detailed description. The Trustee is also continuing to try
   to obtain three FUTA overpayment refunds [assets 28, 74 and 75] from the Internal Revenue Service.


   PROCEDURAL SUMMARY THROUGH MARCH 31, 2021:


   The Debtor's financial affairs are wide ranging and complex. The Trustee and his professionals are finalzing the
   investigation. A detailed description accompanies each asset. As discussed in the prior report, the Non Profit Finance
   Fund ("NFF") is owed approximately $4.35M and is secured by a blanket security agreement in all of the debtor's assets.
   The Trustee entered into stipulation with NFF which includes carve-outs net of collection expenses as follows: (a)




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Case No:             2:19-23085         BB   Judge: SHERI BLUEBOND                                                                Trustee Name:                      JASON M. RUND, TRUSTEE
Case Name:           YOUTH POLICY INSTITUTE, INC.                                                                                 Date Filed (f) or Converted (c):   11/05/19 (f)
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   grant assets 30% to the bankruptcy estate; (b) commercial tort claims 90% to the bankruptcy estate; (c) FUTA tax
   overpayments 50% to the bankruptcy estate; and (d) cash on hand of approximately $130,000 as of the date of stipulation
   100% to the bankruptcy estate. Order approving compromise granting certain carve-outs entered May 4, 2020. This
   arrangement is beneficial to the unsecured creditors of the estate. The Trustee does not anticipate that claims issues
   or tax issues will impact closing.


   PROCEDURAL SUMMARY THROUGH MARCH 31, 2020:


   The Debtor's financial affairs are wide ranging and complex. The Trustee and his professionals are in the early stages
   of the investigation. The Debtor's creditor matrix accompanying the Petition consists of approximately 356 pages and
   lists approximately 2,760 parties.


   The Debtor is a non-profit corporation which operated after-school and extracurricular programs at nearly 100 sites in
   the Los Angeles area and focused on the highest need communities. In operating these programs, the Debtor was funded
   primarily through sizeable federal and state government grants. In fact, the Debtor's most recent publicly available
   tax return shows grants totaling more than $40 million for both fiscal years 2016/2017 and 2015/2016. In early 2019, an
   audit revealed irregularities in expense reimbursements made to the former CEO, Dixon Singerland ("Mr. Singerland"),
   and inaccurate disclosures and reports made in connection with the various grants the Debtor received. The Debtor's
   Board of Directors therefore formed a special committee and investigated these irregularities and, through its
   investigations concluded that Mr. Singerland used the Debtor's funds for unauthorized and personal expenditures, and
   further directed inaccurate reporting to certain government agencies.


   After obtaining an extension of the deadline to file its required disclosure schedules and statements, on December 3,
   2019, the Debtor filed its Schedules, Statement of Financial Affairs and other case commencement documents
   (collectively, the "Schedules and SOFA"). In the Schedules and SOFA, the Debtor discloses, among other things,
   approximately 981 unsecured creditors - 834 priority unsecured creditors consisting primarily of wage claimants, and 147
   general unsecured creditors. In addition, the Schedules and SOFA identify approximately 163 contract counterparties
   relating to pre-petition executory contracts and unexpired leases.


   The Schedules and SOFA, which have been prepared by the interim management of the Debtor, disclose over $9.2 million in
   assets and approximately $12.2 million in liabilities, including a secured liability of approximately $4.35 million owed
   to Non Profit Finance Fund ("NFF"). The most significant asset category disclosed by the Debtor are receivables -




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                                                                                                             ASSET CASES
Case No:             2:19-23085      BB     Judge: SHERI BLUEBOND                                                                 Trustee Name:                      JASON M. RUND, TRUSTEE
Case Name:           YOUTH POLICY INSTITUTE, INC.                                                                                 Date Filed (f) or Converted (c):   11/05/19 (f)
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                                                                                                                                  Claims Bar Date:                   03/17/20
   consisting generally of approximately $2.6 million in immediately due receivables and approximately $5.4 million in
   "unbilled" grant receivables. The Trustee understands that most, if not all, of these receivables relate to various
   government grants for programs previously conducted and are likely subject to certain reporting requirements and may be
   further subject to certain government agency claims.


   The Schedules and SOFA also disclose certain causes of action against Mr. Singerland in the aggregate amount of
   approximately $1.77 million, the collection of which may require litigation and may implicate certain pre-petition
   insurance policies held by the Debtor.
   The events detailed by the Debtor, especially those relating to alleged falsified or incorrect reporting to government
   agencies, has prompted numerous government agencies to launch investigations of their own into the affairs of the Debtor
   and Mr. Singerland. One such investigation has been initiated by the U.S. Department of Labor, as to which a grand
   jury subpoena was served on the Trustee on November 26, 2019. The Trustee is working cooperatively with the assigned
   Assistant United States Attorney to provide all documents required to comply with the subpoena. The Trustee further
   expects to be served with additional subpoenas as this chapter 7 bankruptcy progresses.


   The Debtor's Schedules and SOFA further disclose an interest in a 401(k) plan and 403(b) plan, both of which the Debtor
   has disclosed were not terminated as of the Petition Date. The Trustee has been working closely with the appropriate
   parties to promptly commence a wind-down and termination of these plans.


   As noted above, the Debtor's Schedules and SOFA disclose a secured claim held by NFF in the approximate amount of $4.35
   million. On November 25, 2019, NFF filed Nonprofit Finance Fund's Statement of Non-Consent to Use of Cash Collateral
   (the "NFF Statement"). According to the NFF Statement, NFF asserts a first priority lien in all receivables the Trustee
   is seeking to recover for the benefit of the bankruptcy estate. The Trustee is actively addressing the NFF secured
   claim in order to obtain value for unsecured creditors.


   Prior to the petition date, the Debtor was party to a commercial lease of certain real property located at 2707-11
   Beverly Blvd., Los Angeles, CA 90057 (the "Beverly Facility"). The Trustee has visited the Beverly Facility and has
   observed that a substantial amount of personal property of the Debtor remains at the Beverly Facility, including but not
   limited to furniture, fixtures and equipment; supplies used for the Debtor's various after-school and related programs;
   and paper records. The Schedules and SOFA further disclose the Debtor was party to pre-petition leases at the
   following locations, some or all of which may contain personal property and documents of the Debtor: (a) Pacoima/North
   Valley Worksource Center, 1201 Truman St., Suite A, San Fernando CA 91340; (b) the Debtor's former headquarters at 6464




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                                                                                                            ASSET CASES
Case No:             2:19-23085      BB    Judge: SHERI BLUEBOND                                                                  Trustee Name:                      JASON M. RUND, TRUSTEE
Case Name:           YOUTH POLICY INSTITUTE, INC.                                                                                 Date Filed (f) or Converted (c):   11/05/19 (f)
                                                                                                                                  341(a) Meeting Date:               12/11/19
                                                                                                                                  Claims Bar Date:                   03/17/20
   Sunset Blvd., Suite 650, Los Angeles, CA 90028; (c) Hollywood FamilySource Center, Units 110-113, 1075 N. Western Ave.,
   Los Aneles CA 90038; and (d) WorkSource Center (Temp. Site) 13420 Van Nuys Blvd., Suite 221, Pacoima, CA 91331.


   The Schedules and SOFA further disclose three off-site storage facilities, at which certain of the Debtor's personal
   property and documents are stored: (a) Arleta Storage, 8918 Woodman Ave., Arleta, CA 91331; (b) Iron Mountain, 100
   Campus Dr., Collegeville, PA 19426; and (c) Nova Storage, 13043 Foothill Blvd., Sylmar, CA 91342. The Trustee has
   further come to learn that certain personal property of the Debtor is being held at the following locations, which were
   not disclosed by the Debtor in the Schedules and SOFA: (a) Extra Space Storage, 4728 Fountain, Los Angeles CA 90028; and
   (b) San Fernando Gardens Community Center, 10896 Lehigh Ave, Pacoima, CA 91331. As the Debtor conducted programs at
   numerous sites in the greater Los Angeles area, the Trustee anticipates there may be additional personal property of the
   Debtor held at locations currently unknown to the Trustee. The Trustee is working to preserve necessary records and
   abandon the various premises.


   The Trustee does not anticipte claims issues or tax issues will delay closing.


   The Trustee retained Hahn Fife & Company, LLP as his accountant and the order approving employment was entered January
   8, 2020.


   The Trustee retained Greenberg Glusker Fields Claman & Machtinger LLP as his counsel and the order approving employment
   was entered January 10, 2020.


   The Trustee retained David Oshiro as his paraprofessional to help with grant collections and the order approving
   employment was entered January 16, 2020.


   The Trustee retained Interco Management Corporation as field agent to assist with the numerous facilties and records and
   the order approving employment was entered January 28, 2020.


   Initial Projected Date of Final Report (TFR): 10/31/23            Current Projected Date of Final Report (TFR): 10/31/23




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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:            2:19-23085 -BB                                                                                                Trustee Name:                      JASON M. RUND, TRUSTEE
  Case Name:          YOUTH POLICY INSTITUTE, INC.                                                                                  Bank Name:                         AXOS BANK
                                                                                                                                    Account Number / CD #:             *******0483 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******8339
  For Period Ending: 03/31/24                                                                                                       Blanket Bond (per case limit):
                                                                                                                                    Separate Bond (if applicable):     $ 5,054,000.00


           1             2                              3                                                      4                                                5                       6                   7
    Transaction      Check or                                                                                                              Uniform                                                     Account / CD
       Date          Reference               Paid To / Received From                              Description Of Transaction              Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
                                                                                    BALANCE FORWARD                                                                                                                   0.00
          11/15/19       66      Bank of America Corp.                              Contribution to debtor                                 1229-000              50,000.00                                      50,000.00
                                 3400 Pawtucket Avenue
                                 RI1-5301-01-16
                                 East Providence, RI 02915
          11/15/19       67      Best Buy Foundation                                Grant to debtor                                        1229-000              10,000.00                                      60,000.00
                                 c/o Cyber Grants
                                 300 Brickstone Square, Suite 601
                                 Andover, MD 01810
          11/15/19       67      South Bay Workforce Investment Board Inc           Grant to debtor                                        1229-000                  1,200.00                                   61,200.00
                                 11539 Hawthorne Blvd., Suite 500                   75% Reimbursement for DCFS Tier II - March 2019
                                 Hawthorne, CA 90250
          11/25/19       68      Paramount Contractors & Development Inc.           Return of key deposit                                  1229-000                    50.00                                    61,250.00
                                 6464 Sunset Boulevard, Suite 700                   Former executive offices on Sunset Boulevard.
                                 Hollywood, CA 90028
          11/26/19       3       Wells Fargo Bank, N.A.                             Turnover of account                                    1129-000                  4,545.49                                   65,795.49
                                 P.O. Box 5131, N9777-112 OFC                       number ending in 7145
                                 Sioux Falls, SD 57117-5131
          11/26/19       2       Wells Fargo Bank, N.A.                             Turnover of account                                    1129-000                    47.43                                    65,842.92
                                 P.O. Box 5131, N9777-112 OFC                       number ending in 4905
                                 Sioux Falls, SD 57117-5131
          11/26/19       1       Wells Fargo Bank, N.A.                             Turnover of account                                    1129-000                       0.78                                  65,843.70
                                 P.O. Box 5131, N9777-112 OFC                       number ending in 4008
                                 Sioux Falls, SD 57117-5131
          12/05/19       70      Citibank, N.A.                                     Settlement re lien created on all p                    1229-000                  1,968.62                                   67,812.32
                                 One Penn's Way                                     number ending in 0190
                                 New Castle, DE 19720
          12/05/19       6       Citibank, N.A.                                     Turnover of account                                    1129-000                   401.10                                    68,213.42
                                 One Penn's Way                                     number ending in 5922
                                 New Castle, DE 19720

                                                                                                                                    Page Subtotals               68,213.42                      0.00

LFORM24
          UST Form 101-7-TFR (5/1/2011)                             (Page: 54)                                                 Exhibit B                                                                        Ver: 22.07i
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:            2:19-23085 -BB                                                                                               Trustee Name:                      JASON M. RUND, TRUSTEE
  Case Name:          YOUTH POLICY INSTITUTE, INC.                                                                                 Bank Name:                         AXOS BANK
                                                                                                                                   Account Number / CD #:             *******0483 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******8339
  For Period Ending: 03/31/24                                                                                                      Blanket Bond (per case limit):
                                                                                                                                   Separate Bond (if applicable):     $ 5,054,000.00


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    Transaction      Check or                                                                                                             Uniform                                                     Account / CD
       Date          Reference                Paid To / Received From                            Description Of Transaction              Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
          12/05/19       5       Citibank, N.A.                                     Turnover of account                                   1129-000                  1,251.29                                   69,464.71
                                 One Penn's Way                                     number ending in 5858
                                 New Castle, DE 19720
          12/05/19       71      Citibank, N.A.                                     Turnover of account                                   1229-000                    85.00                                    69,549.71
                                 One Penn's Way                                     number ending in 0216
                                 New Castle, DE 19720
          12/05/19       7       Citibank, N.A.                                     Turnover of account                                   1129-000                       9.82                                  69,559.53
                                 One Penn's Way                                     number ending in 7439
                                 New Castle, DE 19720
          12/05/19       8       Citibank, N.A.                                     Turnover of account                                   1129-000              23,725.00                                      93,284.53
                                 One Penn's Way                                     number ending in 6410
                                 New Castle, DE 19720
          12/12/19       69      Reuben Warner Associates, Inc.                     Insurance refund -                                    1229-000                  2,228.94                                   95,513.47
                                 BOA-Premium Account                                Berkley Life and Health
                                 1655 Richmond Avenue
                                 Staten Island, NY 10314
          12/12/19       67      Vaughn Next Century Learning Center                FY 18-19 Gear Up Budget                               1229-000                  2,587.50                                   98,100.97
                                 13330 Vaughn Street
                                 San Fernando, CA 91340
          12/16/19       4       Citigroup Global Markets, Inc.                     Turnover of account                                   1129-000                  6,704.53                               104,805.50
                                 390-388 Greenwich Street                           number ending in 1997
                                 New York, NY 10013-2375
          12/20/19       9       Paypal FBO                                         Turnover of account                                   1129-000              25,528.68                                  130,334.18
                                 2211 N. First Street
                                 San Jose, CA 95131
          01/22/20    002001     INTERNATIONAL SURETIES, LTD.                       Bond Payment- Bond Number 016030867                   2300-000                                          62.87          130,271.31
                                 SUITE 420                                          Issued pursuant to Local Bankruptcy Rule 2016-2(c)
                                 701 POYDRAS ST.
                                 NEW ORLEANS, LA 70139
          04/13/20       72      City of Los Angeles                                Refund - Department of Building                       1229-000                  1,540.59                               131,811.90

                                                                                                                                  Page Subtotals                63,661.35                    62.87

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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:            2:19-23085 -BB                                                                                                 Trustee Name:                      JASON M. RUND, TRUSTEE
  Case Name:          YOUTH POLICY INSTITUTE, INC.                                                                                   Bank Name:                         AXOS BANK
                                                                                                                                     Account Number / CD #:             *******0483 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******8339
  For Period Ending: 03/31/24                                                                                                        Blanket Bond (per case limit):
                                                                                                                                     Separate Bond (if applicable):     $ 5,054,000.00


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    Transaction      Check or                                                                                                               Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                            Description Of Transaction                Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
                                 200 N. Spring Street, Suite 201                    and Safety
                                 Los Angeles, CA 90012
          04/13/20       72      City of Los Angeles                                Refund - Department of Building                        1229-000                     38.64                                131,850.54
                                 200 N. Spring Street, Suite 201                    and Safety
                                 Los Angeles, CA 90012
          05/01/20       73      Universal Bank                                     Turnover of account                                    1229-000                   1,336.38                               133,186.92
                                 3455 Noagles Street
                                 West Covina, CA 91792
          06/17/20    002002     Trustee Insurance Agency                           Statement Number 4145                                  2420-000                                          2,635.41        130,551.51
                                 2813 West Main                                     Order on Trustee's Notice of Intent to Pay
                                 Kalamazoo, MI 49006                                Administrative Expenses entered June 16, 2020.
          10/16/20       29      United States Treasury                             FUTA Overpayment - 2018                                1124-000               58,123.87                                  188,675.38
                                 Kansas City, MO
          10/16/20       28      United States Treasury                             FUTA Overpayment - 2017                                1124-000              137,820.76                                  326,496.14
                                 Kansas City, MO
          11/13/20       74      United States Treasury                             FUTA Overpayment - 2016 Interest                       1224-000                   4,820.96                               331,317.10
                                 Kansas City, MO
          01/22/21    002003     International Sureties, LTD                        Bond Payment. Bond Number 016229730                    2300-000                                           297.29         331,019.81
                                 701 Poydras Street, Suite 420                      Issued pursuant to Local Bankruptcy Rule 2016-2(c)
                                 New Orleans, LA 70139
          02/08/21       20      Alta Public Schools                                Accounts receivable                                    1121-000               20,000.00                                  351,019.81
                                 DBA Academia Moderna
                                 2410 Broadway Avenue
                                 Walnut Park, CA 90255
          03/01/21       20      City of Los Angeles                                Housing Community Investment                           1121-000              460,078.60                                  811,098.41
                                 Los Angeles City Treasury                          Grant receivable
                                 200 N. Spring Street, Room 201                     Order approving compromise entered February 12,
                                 Los Angeles, CA 90012                              2021.
          03/03/21               AXOS BANK                                          BANK SERVICE FEE                                       2600-000                                           344.36         810,754.05
          04/02/21               AXOS BANK                                          BANK SERVICE FEE                                       2600-000                                           878.80         809,875.25

                                                                                                                                     Page Subtotals              682,219.21                   4,155.86

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          UST Form 101-7-TFR (5/1/2011)                             (Page: 56)                                                Exhibit B                                                                          Ver: 22.07i
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:            2:19-23085 -BB                                                                                                Trustee Name:                      JASON M. RUND, TRUSTEE
  Case Name:          YOUTH POLICY INSTITUTE, INC.                                                                                  Bank Name:                         AXOS BANK
                                                                                                                                    Account Number / CD #:             *******0483 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******8339
  For Period Ending: 03/31/24                                                                                                       Blanket Bond (per case limit):
                                                                                                                                    Separate Bond (if applicable):     $ 5,054,000.00


           1             2                               3                                                    4                                                 5                       6                   7
     Transaction     Check or                                                                                                              Uniform                                                     Account / CD
        Date         Reference                Paid To / Received From                             Description Of Transaction              Tran. Code       Deposits ($)         Disbursements ($)       Balance ($)
          05/03/21               AXOS BANK                                          BANK SERVICE FEE                                       2600-000                                         865.38          809,009.87
 *        05/21/21       21      Los Angeles City Treasury                          Grant receivable                                       1121-003              29,986.81                                  838,996.68
                                 200 N. Spring Street, Room 201                     Project Impact (Proposition 47)
                                 Los Angeles, CA 90012
 *        05/26/21       21      Los Angeles City Treasury                          Grant receivable                                       1121-003             -29,986.81                                  809,009.87
                                 200 N. Spring Street, Room 201                     Deposted entered for incorrect amount.
                                 Los Angeles, CA 90012
          05/26/21       21      Los Angeles City Treasury                          Grant receivable                                       1121-000              26,986.81                                  835,996.68
                                 200 N. Spring Street, Room 201                     Project Impact (Proposition 47)
                                 Los Angeles, CA 90012                              Redeposit to reflect correct deposit amount.
          06/01/21               AXOS BANK                                          BANK SERVICE FEE                                       2600-000                                         901.09          835,095.59
          06/02/21       21      Los Angeles City Treasury                          Grant receivable                                       1121-000              29,819.70                                  864,915.29
                                 200 N. Spring Street, Room 201                     Gang Reduction Youth Development (GRYD) for
                                 Los Angeles, CA 90012                              February 2019 and March 2019.
          06/04/21       53      ProSight Speciality Insurance                      Payment pursuant to compromise                         1141-000                  8,500.00                               873,415.29
                                 New York Marine & General Insurance Co.            Benuck & Rainey, Inc. collection agent for ProSight
                                 412 Mt Kemble Avenue, Suite 300C                   Insurance.
                                 Morristown, CA 07960
          06/10/21       76      Wells Fargo Bank, N.A.                             Miscelleaneous Receipt                                 1229-000                    10.54                                873,425.83
                                 P.O. Box 5131, N9777-112 OFC
                                 Sioux Falls, SD 57117-5131
          06/21/21       47      TPR Education, LLC                                 Payment pursuant to compromise                         1141-000              20,000.00                                  893,425.83
                                 110 E. 42nd Street, Suite 700
                                 New York, NY 10017
          07/01/21               AXOS BANK                                          BANK SERVICE FEE                                       2600-000                                         935.72          892,490.11
          08/02/21               AXOS BANK                                          BANK SERVICE FEE                                       2600-000                                         985.41          891,504.70
          09/01/21               AXOS BANK                                          BANK SERVICE FEE                                       2600-000                                         984.35          890,520.35
          09/22/21       77      Principal Life Insurance Company                   Payment pursuant to compromise                         1241-000              10,000.00                                  900,520.35
                                 711 High Street


                                                                                                                                    Page Subtotals               95,317.05                  4,671.95

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          UST Form 101-7-TFR (5/1/2011)                             (Page: 57)                                                 Exhibit B                                                                        Ver: 22.07i
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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:            2:19-23085 -BB                                                                                                 Trustee Name:                      JASON M. RUND, TRUSTEE
  Case Name:          YOUTH POLICY INSTITUTE, INC.                                                                                   Bank Name:                         AXOS BANK
                                                                                                                                     Account Number / CD #:             *******0483 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******8339
  For Period Ending: 03/31/24                                                                                                        Blanket Bond (per case limit):
                                                                                                                                     Separate Bond (if applicable):     $ 5,054,000.00


           1             2                                3                                                    4                                                 5                       6                   7
    Transaction      Check or                                                                                                               Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                              Description Of Transaction              Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
                                 Des Moines, IA 50392
          09/24/21       45      Vision Service Plan                                  Payment pursuant to compromise                        1141-000                  7,500.00                               908,020.35
                                 333 Quality Drive
                                 Rancho Cordova, CA 95670
          10/01/21               AXOS BANK                                            BANK SERVICE FEE                                      2600-000                                          955.08         907,065.27
          10/07/21       42      Orenda Education                                     Payment pursuant to compromise                        1141-000              25,000.00                                  932,065.27
                                 2101 E. Fourth Street, Suite 200B
                                 Santa Ana, CA 92705
          10/18/21       28      United States Treasury                               FUTA Overpayment - 2017                               1124-000              73,606.21                                 1,005,671.48
                                 Kansas City, MO
          11/01/21       33      Greenberg Glusker                                    Payment pursuant to compromise                        1141-000             294,107.90                                 1,299,779.38
                                 2049 Centura Park East, Suite 2600
                                 Los Angeles, CA 90067
          11/01/21               AXOS BANK                                            BANK SERVICE FEE                                      2600-000                                         1,056.95       1,298,722.43
          11/29/21               County of Los Angeles                                Grant receivable                                                            53,698.00                                 1,352,420.43
                                 The Treasurer of County of Los Angeles               July 2019 (asset 21) $20,415.39
                                 500 West Temple Street, Room 502                     August and September 2019 (asset 20) $33,282.61
                                 Los Angeles, CA 90012
                         21                                                               Memo Amount:             20,415.39                1121-000
                                                                                      July 2019
                         20                                                              Memo Amount:              33,282.61                1121-000
                                                                                      August/September 2019
          12/01/21               AXOS BANK                                            BANK SERVICE FEE                                      2600-000                                         1,379.11       1,351,041.32
          12/02/21       48      California Dental Health Network, Inc.               Payment pursuant to compromise                        1141-000                  7,467.00                              1,358,508.32
                                 23291 Mill Creek Drive, Suite 100
                                 Laguna Hills, CA 92653
          01/03/22               AXOS BANK                                            BANK SERVICE FEE                                      2600-000                                         1,498.61       1,357,009.71
          01/14/22    002004     International Sureties, LTD                          Bond Payment. Bond Number 016229730                   2300-000                                          681.41        1,356,328.30
                                 701 Poydras Street, Suite 420                        Issued pursuant to Local Bankruptcy Rule 2016-2(c)


                                                                                                                                    Page Subtotals               461,379.11                   5,571.16

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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:            2:19-23085 -BB                                                                                                Trustee Name:                    JASON M. RUND, TRUSTEE
  Case Name:          YOUTH POLICY INSTITUTE, INC.                                                                                  Bank Name:                       AXOS BANK
                                                                                                                                    Account Number / CD #:           *******0483 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******8339
  For Period Ending: 03/31/24                                                                                                       Blanket Bond (per case limit):
                                                                                                                                    Separate Bond (if applicable):   $ 5,054,000.00


           1             2                               3                                                    4                                                 5                     6                   7
    Transaction      Check or                                                                                                              Uniform                                                    Account / CD
       Date          Reference               Paid To / Received From                              Description Of Transaction              Tran. Code       Deposits ($)       Disbursements ($)        Balance ($)
                                 New Orleans, LA 70139
          02/01/22               AXOS BANK                                           BANK SERVICE FEE                                      2600-000                                       1,498.22       1,354,830.08
          03/01/22               AXOS BANK                                           BANK SERVICE FEE                                      2600-000                                       1,351.12       1,353,478.96
          03/10/22       55      California Community Foundation                     Payment pursuant to compromise                        1141-000             400,000.00                               1,753,478.96
                                 221 S. Figueroa Street, Suite 400
                                 Los Angeles, CA 90012
          04/01/22               AXOS BANK                                           BANK SERVICE FEE                                      2600-000                                       1,793.57       1,751,685.39
          05/02/22               AXOS BANK                                           BANK SERVICE FEE                                      2600-000                                       1,871.66       1,749,813.73
          06/01/22               AXOS BANK                                           BANK SERVICE FEE                                      2600-000                                       1,932.05       1,747,881.68
          07/01/22               AXOS BANK                                           BANK SERVICE FEE                                      2600-000                                       1,867.60       1,746,014.08
          08/01/22               AXOS BANK                                           BANK SERVICE FEE                                      2600-000                                       1,927.79       1,744,086.29
          09/01/22               AXOS BANK                                           BANK SERVICE FEE                                      2600-000                                       1,925.66       1,742,160.63
          10/03/22               AXOS BANK                                           BANK SERVICE FEE                                      2600-000                                       1,861.49       1,740,299.14
          10/31/22      INT      AXOS BANK                                           Interest Rate 0.005                                   1270-000                  667.63                              1,740,966.77
          11/01/22               AXOS BANK                                           BANK SERVICE FEE                                      2600-000                                       1,921.64       1,739,045.13
          11/30/22      INT      AXOS BANK                                           Interest Rate 0.005                                   1270-000                  714.82                              1,739,759.95
          12/01/22               AXOS BANK                                           BANK SERVICE FEE                                      2600-000                                       1,858.18       1,737,901.77
          12/31/22      INT      AXOS BANK                                           Interest Rate 0.005                                   1270-000                  738.16                              1,738,639.93
          01/03/23               AXOS BANK                                           BANK SERVICE FEE                                      2600-000                                       1,918.89       1,736,721.04
          01/06/23    002005     INTERNATIONAL SURETIES, LTD.                        Bond Payment. Bond Number 016229730                   2300-000                                        782.48        1,735,938.56
                                 SUITE 420                                           Issued pursuant to Local Bankruptcy Rule 2016-2(c)
                                 701 POYDRAS ST.
                                 NEW ORLEANS, LA 70139
          01/31/23       30      RSUI Indemnity Company                              Payment pursuant to compromise                        1149-000           2,761,796.00                               4,497,734.56
                                 945 East Places Ferry Road
                                 Suite 1800
                                 Atlanta, GA 30326-1160
          01/31/23      INT      AXOS BANK                                           Interest Rate 0.005                                   1270-000                  737.48                              4,498,472.04
          02/01/23               AXOS BANK                                           BANK SERVICE FEE                                      2600-000                                       2,015.45       4,496,456.59


                                                                                                                                   Page Subtotals             3,164,654.09                24,525.80

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          UST Form 101-7-TFR (5/1/2011)                              (Page: 59)                                                Exhibit B                                                                      Ver: 22.07i
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:            2:19-23085 -BB                                                                                               Trustee Name:                      JASON M. RUND, TRUSTEE
  Case Name:          YOUTH POLICY INSTITUTE, INC.                                                                                 Bank Name:                         AXOS BANK
                                                                                                                                   Account Number / CD #:             *******0483 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******8339
  For Period Ending: 03/31/24                                                                                                      Blanket Bond (per case limit):
                                                                                                                                   Separate Bond (if applicable):     $ 5,054,000.00


           1             2                                3                                                    4                                               5                         6                   7
    Transaction      Check or                                                                                                             Uniform                                                        Account / CD
       Date          Reference                Paid To / Received From                             Description Of Transaction             Tran. Code       Deposits ($)         Disbursements ($)          Balance ($)
          02/28/23      INT      AXOS BANK                                          Interest Rate 0.005                                    1270-000                 1,724.99                                4,498,181.58
          03/01/23               AXOS BANK                                          BANK SERVICE FEE                                       2600-000                                          1,994.52       4,496,187.06
          03/03/23       30      The Hanover Insurance Company                      Payment pursuant to compromise                         1149-000          2,000,000.00                                   6,496,187.06
                                 P.O. Box 15149
                                 Worcester, MA 01615
          03/08/23    002006     International Sureties, LTD                        Trustee Separate Case Bond                             2300-000                                          6,500.00       6,489,687.06
                                 701 Poydras Street, Suite 420                      Bond Number 016239331
                                 New Orleans, LA 70139
          03/13/23    002007     LAW OFFICE OF PHILIP DRACHT                        Attorneys Fees - Special Counsel                    3210-600                                       1,571,392.68         4,918,294.38
                                 15 W. CARRILLO STREEET, SUITE 250                  Order Granting Trustee's Motion Under Federal Rules
                                 SANTA BARBARA, CA 93101                            of Bankruptcy Procedure 9019 entered February 8,
                                                                                    2023. Funds received: RSUI: $2,761,796.00 and
                                                                                    Hanover: $2,000,000.00. $4,761,796.00 x .33 =
                                                                                    $1,571,392.68
          03/13/23    002008     LAW OFFICE OF PHILIP DRACHT                        Attorney Costs - Special Counsel                    3220-610                                             1,701.96       4,916,592.42
                                 15 W. CARRILLO STREEET, SUITE 250                  Order Granting Trustee's Motion Under Federal Rules
                                 SANTA BARBARA, CA 93101                            of Bankruptcy Procedure 9019 entered February 8,
                                                                                    2023.
          03/28/23               Global Surety, LLC                                 Bond Premium Refund                                    2300-000                                          -1,583.00      4,918,175.42
                                 Operating Account                                  Trustee is treating the amount received as a
                                 701 Poydras, Suite 420                             non-compensable negative disbursement
                                 New Orleans, LA 70139
          03/31/23    002009     International Sureties, LTD                        Trustee Separate Case Bond                             2300-000                                              8.00       4,918,167.42
                                 701 Poydras Street, Suite 420                      Bond Number 016239331
                                 New Orleans, LA 70139                              Bond amount adjustment
          04/02/23      INT      AXOS BANK                                          Interest Rate 0.005                                    1270-000                 2,410.72                                4,920,578.14
          04/03/23               AXOS BANK                                          BANK SERVICE FEE                                       2600-000                                          2,208.22       4,918,369.92
          04/28/23       30      Dixon Slingerland                                  Payment pursuant to compromise                         1149-000            125,000.00                                   5,043,369.92
                                 Suzanne Steinke
                                 4247 Camelia Avenue

                                                                                                                                   Page Subtotals            2,129,135.71               1,582,222.38

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          UST Form 101-7-TFR (5/1/2011)                             (Page: 60)                                                 Exhibit B                                                                         Ver: 22.07i
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:            2:19-23085 -BB                                                                                              Trustee Name:                      JASON M. RUND, TRUSTEE
  Case Name:          YOUTH POLICY INSTITUTE, INC.                                                                                Bank Name:                         AXOS BANK
                                                                                                                                  Account Number / CD #:             *******0483 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******8339
  For Period Ending: 03/31/24                                                                                                     Blanket Bond (per case limit):
                                                                                                                                  Separate Bond (if applicable):     $ 5,054,000.00


           1             2                               3                                                     4                                              5                       6                   7
    Transaction      Check or                                                                                                              Uniform                                                   Account / CD
       Date          Reference                Paid To / Received From                            Description Of Transaction               Tran. Code     Deposits ($)         Disbursements ($)       Balance ($)
                                 Studio City, CA 91604
          04/30/23      INT      AXOS BANK                                          Interest Rate 0.005                                   1270-000                 1,886.85                             5,045,256.77
          05/01/23               AXOS BANK                                          BANK SERVICE FEE                                      2600-000                                        2,136.99      5,043,119.78
          05/02/23    002010     International Sureties, LTD                        Trustee Separate Case Bond                            2300-000                                         108.00       5,043,011.78
                                 701 Poydras Street, Suite 420                      Aggregate Limit Increase
                                 New Orleans, LA 70139                              Bond Number 016239331
          05/09/23    002011     LAW OFFICE OF PHILIP DRACHT                        Attorneys Fees - Special Counsel                    3210-600                                       41,250.00        5,001,761.78
                                 15 W. CARRILLO STREEET, SUITE 250                  Order Granting Trustee's Motion Under Federal Rules
                                 SANTA BARBARA, CA 93101                            of Bankruptcy Procedure 9019 entered February 8,
                                                                                    2023. Funds received: Dixon Slingerland:
                                                                                    $125,00.00 x .33 = $41,250.00
          05/31/23      INT      AXOS BANK                                          Interest Rate 0.005                                   1270-000                 2,142.00                             5,003,903.78
          06/01/23               AXOS BANK                                          BANK SERVICE FEE                                      2600-000                                        2,208.22      5,001,695.56
          06/12/23    002012     Nonprofit Finance Fund                             Pursuant to Order Approving                           4210-000                                    826,933.37        4,174,762.19
                                 Sidley Austin LLP                                  Stipulation Between Chapter 7 Trustee and Nonprofit
                                 Attn Genevieve G Weiner                            Finance Fund Regarding Secured Claim Distribution
                                 555 W Fifth St Ste 4000                            entered June 9, 2023
                                 Los Angeles CA 90013                               The Stipulation is in furtherance of the Order
                                                                                    Granting Chapter 7 Trustee’s Motion Under Fed. R.
                                                                                    Bankr. P. 9019 for Order Approving Stipulation
                                                                                    Between Chapter 7 Trustee and Secured Creditor
                                                                                    Nonprofit Finance Fund: (1) Authorizing Use of Cash
                                                                                    Collateral; (2) Granting Certain Carve Outs from
                                                                                    Senior Lien in Favor of the Bankruptcy Estate; and
                                                                                    (3) Resolving Disputes
                                                                                    Regarding Secured Claim and Extent of Lien entered
                                                                                    May 4, 2019.
          06/26/23       79      Citibank                                           Turnover of bank account                              1229-000                 3,717.81                             4,178,480.00
                                 1000 Technology Drive, MS 785
                                 O'Fallon, MO 63368

                                                                                                                                  Page Subtotals                   7,746.66            872,636.58

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          UST Form 101-7-TFR (5/1/2011)                             (Page: 61)                                                Exhibit B                                                                       Ver: 22.07i
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                                                                            ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:               2:19-23085 -BB                                                                                                 Trustee Name:                       JASON M. RUND, TRUSTEE
  Case Name:             YOUTH POLICY INSTITUTE, INC.                                                                                   Bank Name:                          AXOS BANK
                                                                                                                                        Account Number / CD #:              *******0483 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******8339
  For Period Ending: 03/31/24                                                                                                           Blanket Bond (per case limit):
                                                                                                                                        Separate Bond (if applicable):      $ 5,054,000.00


           1                2                               3                                                      4                                                  5                          6                         7
    Transaction         Check or                                                                                                               Uniform                                                               Account / CD
       Date             Reference                 Paid To / Received From                              Description Of Transaction             Tran. Code       Deposits ($)            Disbursements ($)              Balance ($)
          07/02/23         INT       AXOS BANK                                            Interest Rate 0.005                                   1270-000                  2,049.42                                       4,180,529.42
          07/03/23                   AXOS BANK                                            BANK SERVICE FEE                                      2600-000                                             2,136.99            4,178,392.43
          07/31/23         INT       AXOS BANK                                            Interest Rate 0.005                                   1270-000                  1,660.22                                       4,180,052.65
          08/01/23                   AXOS BANK                                            BANK SERVICE FEE                                      2600-000                                             2,208.22            4,177,844.43
          08/31/23         INT       AXOS BANK                                            Interest Rate 0.005                                   1270-000                  1,774.52                                       4,179,618.95

                                             Memo Allocation Receipts:               53,698.00                     COLUMN TOTALS                                   6,677,810.76               2,498,191.81                 4,179,618.95
                                         Memo Allocation Disbursements:                   0.00                         Less: Bank Transfers/CD's                           0.00                       0.00
                                                                                                                   Subtotal                                        6,677,810.76            2,498,191.81
                                                   Memo Allocation Net:              53,698.00                         Less: Payments to Debtors                                                   0.00
                                                                                                                   Net
                                                                                                                                                                   6,677,810.76            2,498,191.81
                                                                                                                                                                                            NET                             ACCOUNT
                     Total Allocation Receipts:            53,698.00                                                TOTAL - ALL ACCOUNTS                      NET DEPOSITS             DISBURSEMENTS                        BALANCE
               Total Allocation Disbursements:                  0.00                              Checking Account (Non-Interest Earn - ********0483                6,677,810.76                2,498,191.81               4,179,618.95
                                                                                                                                                            ------------------------    ------------------------   ------------------------
                     Total Memo Allocation Net:            53,698.00
                                                                                                                                                                    6,677,810.76                2,498,191.81               4,179,618.95
                                                                                                                                                            ==============             ==============              ==============
                                                                                                                                                             (Excludes Account         (Excludes Payments                   Total Funds
                                                                                                                                                                        Transfers)               To Debtors)                    On Hand




                                                                                                                                        Page Subtotals                    5,484.16                    4,345.21

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          UST Form 101-7-TFR (5/1/2011)                                 (Page: 62)                                                  Exhibit B                                                                                  Ver: 22.07i
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                      2IILFH/RV$QJHOHV                   /DVW'DWHWRILOHFODLPV
                      7UXVWHH-DVRQ05XQG 75            /DVW'DWHWRILOH *RYW 
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  Description:
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UST Form 101-7-TFR (5/1/2011)                  (Page: 63)                                     Exhibit C
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UST Form 101-7-TFR (5/1/2011)                    (Page: 64)                                   Exhibit C
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UST Form 101-7-TFR (5/1/2011)                   (Page: 65)                                Exhibit C
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UST Form 101-7-TFR (5/1/2011)                    (Page: 69)                                  Exhibit C
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UST Form 101-7-TFR (5/1/2011)                   (Page: 70)                                   Exhibit C
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UST Form 101-7-TFR (5/1/2011)                    (Page: 72)                                  Exhibit C
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UST Form 101-7-TFR (5/1/2011)                    (Page: 73)                                   Exhibit C
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UST Form 101-7-TFR (5/1/2011)                   (Page: 74)                                Exhibit C
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   $PRXQWFODLPHG         "MMPXFEBTHFOFSBMVOTFDVSFEDMBJN
  History:
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  Description:
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UST Form 101-7-TFR (5/1/2011)                   (Page: 80)                                 Exhibit C
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  Case 2:19-bk-23085-BB Doc 271 Filed 10/12/23 Entered 10/12/23 11:35:03 Desc
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  Remarks:

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  Creditor:             &ODLP1R              Status:
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  Description:
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UST Form 101-7-TFR (5/1/2011)                   (Page: 81)                                Exhibit C
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  Case 2:19-bk-23085-BB Doc 271 Filed 10/12/23 Entered 10/12/23 11:35:03 Desc
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   $PRXQWFODLPHG        "MMPXFEBTHFOFSBMVOTFDVSFEDMBJN
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  Description:  6HUYLFHV3HUIRUPHG
  Remarks:

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UST Form 101-7-TFR (5/1/2011)                   (Page: 82)                                Exhibit C
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  Case 2:19-bk-23085-BB Doc 271 Filed 10/12/23 Entered 10/12/23 11:35:03 Desc
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  Creditor:              &ODLP1R               Status:
  7KLQN7RJHWKHU                             Original Filed             Filed by:&5
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   $PRXQWFODLPHG          "MMPXFEBTHFOFSBMVOTFDVSFEDMBJN
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UST Form 101-7-TFR (5/1/2011)                    (Page: 83)                                  Exhibit C
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UST Form 101-7-TFR (5/1/2011)                   (Page: 84)                                 Exhibit C
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  Creditor:                 &ODLP1R                Status:
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UST Form 101-7-TFR (5/1/2011)                   (Page: 85)                                   Exhibit C
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  Case 2:19-bk-23085-BB Doc 271 Filed 10/12/23 Entered 10/12/23 11:35:03 Desc
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UST Form 101-7-TFR (5/1/2011)                  (Page: 86)                                  Exhibit C
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  Remarks:  7KHUHLVQRFODLPDPRXQWGLVFORVHGRQIRUP




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UST Form 101-7-TFR (5/1/2011)                   (Page: 94)                                 Exhibit C
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  Description:  6HUYLFHV+RXUVSHUIRUPHG
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UST Form 101-7-TFR (5/1/2011)                   (Page: 96)                                  Exhibit C
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UST Form 101-7-TFR (5/1/2011)                   (Page: 97)                                  Exhibit C
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UST Form 101-7-TFR (5/1/2011)                    (Page: 98)                                  Exhibit C
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  History:
  'HWDLOV         &ODLPILOHGE\1RQSURILW)LQDQFH)XQG$PRXQWFODLPHG
                                 &6 
  Description:
  Remarks:

  Creditor:                 &ODLP1R            Status:
  &LQWDV&RUSRUDWLRQGED&LQWDV/RFDWLRQ       Original Filed           Filed by:&5
  1R                                        Date         Entered by:$873
  FR-DVRQ96WLWW                            Original Entered         Modified:
  .HDWLQJ0XHWKLQJ .OHNDPS3//                Date
  2QH(DVWWK6WUHHW6XLWH
  &LQFLQQDWL2+
   $PRXQWFODLPHG                  "MMPXFEBTHFOFSBMVOTFDVSFEDMBJN
  History:
  'HWDLOV         &ODLPILOHGE\&LQWDV&RUSRUDWLRQGED&LQWDV/RFDWLRQ1R$PRXQW
                                 FODLPHG $873 
  Description:
  Remarks:



UST Form 101-7-TFR (5/1/2011)                       (Page: 102)                              Exhibit C
&0(&) 86%DQNUXSWF\&RXUW 1* /,9(                      3DJH RI
  Case 2:19-bk-23085-BB Doc 271 Filed 10/12/23 Entered 10/12/23 11:35:03 Desc
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  Creditor:              &ODLP1R              Status:
  3LRQHHU)LUH3URIHVVLRQDOV,QF           Original Filed             Filed by:&5
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  9DQ1X\V&$                   Original Entered           Modified:
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   $PRXQWFODLPHG           "MMPXFEBTHFOFSBMVOTFDVSFEDMBJN
  History:
  'HWDLOV         &ODLPILOHGE\3LRQHHU)LUH3URIHVVLRQDOV,QF$PRXQWFODLPHG
                                 $873 
  Description:
  Remarks:

  Creditor:              &ODLP1R              Status:
  (G1HW&DUHHU,QVWLWXWH,QF               Original Filed             Filed by:&5
  7RSDQJD&DQ\RQ%OYG                  Date           Entered by:$873
  6XLWH                                  Original Entered           Modified:
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   $PRXQWFODLPHG 
                                     "MMPXFEBTHFOFSBMVOTFDVSFEDMBJNQVSTVBOUUP0SEFS"QQSPWJOH
   3ULRULW\ FODLPHG 
                                     4UJQVMBUJPOFOUFSFE/PWFNCFS  EPDLFUOVNCFS
  History:
  'HWDLOV         &ODLPILOHGE\(G1HW&DUHHU,QVWLWXWH,QF$PRXQWFODLPHG
                                 $873 
  Description:
  Remarks:

  Creditor:              &ODLP1R              Status:
  2UDFOH$PHULFD,QF                        Original Filed             Filed by:$7
  FR6KDZQ0&KULVWLDQVRQ(VT               Date           Entered by:6KDZQ0&KULVWLDQVRQ
  %XFKDOWHUD3URIHVVLRQDO&RUS             Original Entered           Modified:
  6HFRQG6WWK)O                      Date
  6DQ)UDQFLVFR&$
   $PRXQWFODLPHG               "MMPXFEBTHFOFSBMVOTFDVSFEDMBJN
  History:
  'HWDLOV         &ODLPILOHGE\2UDFOH$PHULFD,QF$PRXQWFODLPHG
                                 &KULVWLDQVRQ6KDZQ 
  Description:
  Remarks:

  Creditor:              &ODLP1R              Status:
  *867$92*87,(55(=                          Original Filed             Filed by:&5
  3/$,19,(:$9($                     Date           Entered by:.&
  78-81*$&$                  Original Entered           Modified:
  History:
  'HWDLOV         &ODLPILOHGE\*867$92*87,(55(=$PRXQWFODLPHG .& 
  Description:
  Remarks:

UST Form 101-7-TFR (5/1/2011)                   (Page: 103)                                  Exhibit C
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  Case 2:19-bk-23085-BB Doc 271 Filed 10/12/23 Entered 10/12/23 11:35:03 Desc
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                                               Date

   $PRXQWFODLPHG                "MMPXFEBTQSJPSJUZXBHFDMBJN
   3ULRULW\ FODLPHG 

  History:
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  Description:
  Remarks:

  Creditor:                &ODLP1R            Status:
  2UHQGD(GXFDWLRQ 3ULQFLSDOV([FKDQJH        Original Filed           Filed by:&5
  (WK6WUHHW%                       Date         Entered by:$873
  VDQWDDQD&$             Original Entered         Modified:
                                               Date

   $PRXQWFODLPHG        "MMPXFEBTHFOFSBMVOTFDVSFEDMBJN
  History:
  'HWDLOV         &ODLPILOHGE\2UHQGD(GXFDWLRQ 3ULQFLSDOV([FKDQJH $PRXQWFODLPHG
                                  $873 
  Description:
  Remarks:

  Creditor:   +LVWRU\       &ODLP1R            Status:
  /DERU&RPPLVVLRQHURIWKH6WDWHRI          Original Filed           Filed by:&5
  &DOLIRUQLD                                   Date         Entered by:0DWWKHZ16LUROO\
  :WK6WUHHW6XLWH                 Original Entered         Modified:
  /RV$QJHOHV&$                 Date
                                               Last Amendment
                                               Filed
                                               Last Amendment
                                               Entered
   $PRXQWFODLPHG             "MMPXFEBT QSJPSJUZXBHFDMBJNBOE  
   3ULRULW\ FODLPHG           HFOFSBMVOTFSDVSFEDMBJN
  History:
  'HWDLOV         &ODLPILOHGE\/DERU&RPPLVVLRQHURIWKH6WDWHRI&DOLIRUQLD$PRXQW
                                 FODLPHG 6LUROO\0DWWKHZ 
   'HWDLOV        $PHQGHG&ODLPILOHGE\/DERU&RPPLVVLRQHURIWKH6WDWHRI&DOLIRUQLD
                                 $PRXQWFODLPHG 6LUROO\0DWWKHZ 
  Description:  8QSDLG:DJHVDQG/DERU&RGHSHQDOWLHV
   8QSDLGZDJHVDQG/DERUFRGHSHQDOWLHV
  Remarks:

  Creditor:                &ODLP1R               Status:
  <RXWK3ROLF\,QVWLWXWH,QF               Original Filed              Filed by:&5
  History:    Actual   creditor is Dolphin Trucking   School
  'HWDLOV        &ODLPILOHGE\<RXWK3ROLF\,QVWLWXWH,QF$PRXQWFODLPHG
                                   $873 
  Description:
  Remarks:

UST Form 101-7-TFR (5/1/2011)                      (Page: 104)                               Exhibit C
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  Case 2:19-bk-23085-BB Doc 271 Filed 10/12/23 Entered 10/12/23 11:35:03 Desc
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  6(DVWHUQ$YH                       Date           Entered by:$873
  8QLW2                                     Original Entered           Modified:
  &RPPHUFH&$                   Date

   $PRXQWFODLPHG          Allowed as general unsecured claim.
  History:
  'HWDLOV         &ODLPILOHGE\<RXWK3ROLF\,QVWLWXWH,QF$PRXQWFODLPHG
                                 $873 
  Description:
  Remarks:

  Creditor:              &ODLP1R              Status::LWKGUDZ
  -(11,)(5252=&2(648,9$6                   Original Filed             Filed by:&5
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  1257+5,'*(&$                Original Entered           Modified:
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   $PRXQWFODLPHG         8JUIESBXBMPG$MBJNGJMFE4FQUFNCFS  EPDLFUOVNCFS
  History:
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                                $873 
                 :LWKGUDZDORI&ODLP V )LOHGE\&UHGLWRU-HQQLIHU2UR]FR(VTXLYLDV
                                6LUROO\0DWWKHZ 6WDWXV:LWKGUDZ
  Description:
  Remarks:  $FFRXQW1XPEHU ODVWGLJLWV 

  Creditor:              &ODLP1R              Status::LWKGUDZ
  $0D0LQRU                              Original Filed             Filed by:&5
  FR'DQLHO&6KDUSH                       Date           Entered by:.&
  :LOVKLUH%OYG6XLWH             Original Entered           Modified:
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   $PRXQWFODLPHG  8JUIESBXBMPG$MBJNGJMFE/PWFNCFS  EPDLFUOVNCFS

  History:
  'HWDLOV       &ODLPILOHGE\$0D0LQRU$PRXQWFODLPHG .& 
                 1RWLFHRI:LWKGUDZDORI&ODLP V )LOHGE\&UHGLWRU$0 .& 6WDWXV
                               :LWKGUDZ
  Description:
  Remarks:  6HH&ODLP)RU'HWDLOV

  Creditor:              &ODLP1R               Status::LWKGUDZ
  ,$D0LQRU                           Original Filed              Filed by:&5
  FR'DQLHO&6KDUSH                    Date
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   'HWDLOV   &ODLPILOHGE\,$D0LQRU$PRXQWFODLPHG .& 
                1RWLFHRI:LWKGUDZDORI&ODLP V )LOHGE\&UHGLWRU,$ .& 6WDWXV
                                :LWKGUDZ
  Description:
  Remarks:  6HHFODLPIRUGHWDLOV

UST Form 101-7-TFR (5/1/2011)                    (Page: 105)                                   Exhibit C
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  Case 2:19-bk-23085-BB Doc 271 Filed 10/12/23 Entered 10/12/23 11:35:03 Desc
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  :LOVKLUH%OYG6XLWH             Original Entered            Entered by:.&
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   $PRXQWFODLPHG  8JUIESBXBMPG$MBJNGJMFE/PWFNCFS  EPDLFUOVNCFS

  History:
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                 1RWLFHRI:LWKGUDZDORI&ODLP V )LOHGE\&UHGLWRU,$ .& 6WDWXV
                               :LWKGUDZ
  Description:
  Remarks:  6HHFODLPIRUGHWDLOV

  Creditor:              &ODLP1R               Status:
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  6%HDXGU\$YH                          Date            Entered by:60
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   $PRXQW FODLPHG        Allowed as general unsecured claim in the amount of $294,100.47
   6HFXUHGFODLPHG        and $399,115.53 secured and no distriubtion because leased property
                                      not administered by trustee.
  History:
  'HWDLOV         &ODLPILOHGE\/RV$QJHOHV8QLILHG6FKRRO'LVWULFW$PRXQWFODLPHG
                                  60 
  Description:  3UHSDLGVHUYLFHVQRWUHQGHUHGOHDVHRYHUSD\PHQW
  Remarks:

  Creditor:              &ODLP1R               Status:
  7HDFKHUV2Q5HVHUYH//&                    Original Filed              Filed by:&5
  6RQRUD$YH                             Date            Entered by:$873
  *OHQGDOH&$                 Original Entered            Modified:
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   $PRXQWFODLPHG         "MMPXFEBTHFOFSBMVOTFDVSFEDMBJN
  History:
  'HWDLOV         &ODLPILOHGE\7HDFKHUV2Q5HVHUYH//&$PRXQWFODLPHG
                                 $873 
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  Creditor:              &ODLP1R               Status:
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  6XLWH                                 Original Entered            Modified:
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  History:
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                                 $873 
  Description:
  Remarks:

UST Form 101-7-TFR (5/1/2011)                    (Page: 106)                                  Exhibit C
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  Case 2:19-bk-23085-BB Doc 271 Filed 10/12/23 Entered 10/12/23 11:35:03 Desc
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   $PRXQWFODLPHG          "MMPXFEBTHFOFSBMVOTFDVSFEDMBJN
  History:
  'HWDLOV         &ODLPILOHGE\.RXQNXH\'HVLJQ,QLWLDWLYH,QF$PRXQWFODLPHG
                                 $873 
  Description:
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  Creditor:              &ODLP1R               Status:
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   $PRXQWFODLPHG             "MMPXFEBTQSJPSJUZXBHFDMBJN
   3ULRULW\ FODLPHG 

  History:
  'HWDLOV         &ODLPILOHGE\0$5<$00$/(.,065'$PRXQWFODLPHG
                                 $873 
  Description:
  Remarks:  $FFRXQW1XPEHU ODVWGLJLWV 

  Creditor:                 &ODLP1R               Status:
  'L[RQ6OLQJHUODQG                          Original Filed              Filed by:&5
  &DPHOLD$YHQXH                        Date            Entered by:&KULVWRSKHU(3ULQFH
  6WXGLR&LW\&$                    Original Entered            Modified:
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                                    $MBJNSFMFBTFEQFSPSEFSBQQSPWJOHDPNQSPNJTFFOUFSFE'FCSVBSZ 
   3ULRULW\FODLPHG       EPDLFUOVNCFS
  History:
  'HWDLOV         &ODLPILOHGE\'L[RQ6OLQJHUODQG$PRXQWFODLPHG 3ULQFH&KULVWRSKHU 
  Description:
  Remarks:

  Creditor:              &ODLP1R               Status:
  &DOLIRUQLD,QVWLWXWHRI7HFKQRORJ\        Original Filed              Filed by:&5
  -HW3URSXOVLRQ/DERUDWRU\                  Date            Entered by:29
  'DYLG)ORUHV                               Original Entered            Modified:
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  3DVDGHQD&$
   $PRXQWFODLPHG        "MMPXFEBTHFOFSBMVOTFDVSFEDMBJN
  History:
  'HWDLOV         &ODLPILOHGE\&DOLIRUQLD,QVWLWXWHRI7HFKQRORJ\$PRXQWFODLPHG
                                  29 
  Description:  6HHDWWDFKHGGHFODUDWLRQVIURP(OHDQRU:LJJDQDQG0LFKHOOH9LRWWL
  Remarks:




UST Form 101-7-TFR (5/1/2011)                    (Page: 107)                                  Exhibit C
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  Case 2:19-bk-23085-BB Doc 271 Filed 10/12/23 Entered 10/12/23 11:35:03 Desc
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  Creditor:             &ODLP1R             Status:
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   $PRXQWFODLPHG         "MMPXFEBTHFOFSBMVOTFDVSFEDMBJN
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  Creditor:             &ODLP1R             Status:
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  Description:
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  Creditor:             &ODLP1R             Status:
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  Description:
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UST Form 101-7-TFR (5/1/2011)                  (Page: 108)                              Exhibit C
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  Case 2:19-bk-23085-BB Doc 271 Filed 10/12/23 Entered 10/12/23 11:35:03 Desc
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   $PRXQWFODLPHG           "MMPXFEBTQSJPSJUZXBHFDMBJN
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  Creditor:   +LVWRU\    &ODLP1R              Status:
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  ([WHQVLRQ:RUNIRUFH7UDLQLQJ              Date           Entered by:29
  )XOWRQ$YH$&$               Original Entered           Modified:
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  History:
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                                 29 
  Description:  6HUYLFHV3HUIRUPHG (GXFDWLRQ
  Remarks:

  Creditor:             &ODLP1R              Status:
  1DWLRQDO&DUHHU&ROOHJH,QF             Original Filed             Filed by:&5
  5RVFRH%OYG                        Date           Entered by:$873
  3DQRUDPD&LW\&$           Original Entered           Modified:
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  History:
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                                 $873 
  Description:
  Remarks:  $FFRXQW1XPEHU ODVWGLJLWV 

  Creditor:             &ODLP1R              Status:
  7UDQV3HUIHFW/HJDO6ROXWLRQV              Original Filed             Filed by:&5
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  $WWHQWLRQ/HH                            Original Entered           Modified:
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   $PRXQWFODLPHG         "MMPXFEBTUBSEZHFOFSBMVOTFDVSFEDMBJN
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  'HWDLOV         &ODLPILOHGE\7UDQV3HUIHFW/HJDO6ROXWLRQV$PRXQWFODLPHG
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  Description:
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  Case 2:19-bk-23085-BB Doc 271 Filed 10/12/23 Entered 10/12/23 11:35:03 Desc
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  Creditor:                &ODLP1R            Status:
  %ULJKW6WDU6FKRROV                          Original Filed           Filed by:&5
  6RXWK0DQVILHOG$YHQXH                  Date         Entered by::LOOLDP$6PHONR
  /RV$QJHOHV&$                 Original Entered         Modified:
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   $PRXQWFODLPHG              "MMPXFEBTHFOFSBMVOTFDVSFEDMBJN
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                                 :LOOLDP 
  Description:
  Remarks:

  Creditor:   +LVWRU\       &ODLP1R            Status:
  &DOLIRUQLD'HSDUWPHQWRI(GXFDWLRQ           Original Filed           Filed by:&5
  FR0DWWKHZ&+H\Q                           Date         Entered by:0DWWKHZ&+H\Q
  6RXWK6SULQJ6W                          Original Entered         Modified:
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   $PRXQW FODLPHG 
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  'HWDLOV         &ODLPILOHGE\&DOLIRUQLD'HSDUWPHQWRI(GXFDWLRQ$PRXQWFODLPHG
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                                 FODLPHG +H\Q0DWWKHZ 
  Description:  )RUSRVVLEOHRYHUSD\PHQWV YLRODWLRQVRIJUDQWWHUPVDQGFRQGLWLRQV
  Remarks:  8QOLTXLGDWHG

  Creditor:                &ODLP1R            Status:
  7KH5HJHQWVRIWKH8QLYHUVLW\RI            Original Filed           Filed by:&5
  &DOLIRUQLD                                   Date         Entered by:5KRQGD6*ROGVWHLQ
  )UDQNOLQ6WUHHWWK)ORRU              Original Entered         Modified:
  2DNODQG&$                   Date

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                                 FODLPHG *ROGVWHLQ5KRQGD 
  Description:
  Remarks:




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  Case 2:19-bk-23085-BB Doc 271 Filed 10/12/23 Entered 10/12/23 11:35:03 Desc
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  Creditor:              &ODLP1R              Status:
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  History:
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                                 FODLPHG 6FKDNRZ7LPRWK\ 
  Description:
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  Creditor:              &ODLP1R              Status:
  &DOLIRUQLD'HSWRI7D[ )HH             Original Filed             Filed by:&5
  $GPLQLVWUDWLRQ                             Date           Entered by:.HQQHWK:%DUURZ
  &ROOHFWLRQV6XSSRUW%XUHDX0,&          Original Entered           Modified:
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   3ULRULW\ FODLPHG      QFOBMUZBOEHFOFSBMVOTFSDVSFEDMBJN

  History:
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                                 FODLPHG %DUURZ.HQQHWK 
  Description:
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  Creditor:              &ODLP1R              Status:
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   $PRXQWFODLPHG          "MMPXFEBTBOBENJOJTUSBUJWFFYQFOTF
  History:
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                                 6KLQEURW-HIIUH\ 
  Description:
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  Creditor:                   &ODLP1R           Status:
  .DLVHU3HUPDQHQWH                            Original Filed          Filed by:&5
  )LOH                                   Date        Entered by:$873
  /RV$QJHOHV&$                       Original Entered        Modified:
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   $PRXQWFODLPHG              "MMPXFEBTQSJPSJUZDMBJN
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  History:
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  'HSDUWPHQWRI/DERU(PSOR\HH                Original Filed          Filed by:&5
  %HQHILWV6HFXULW\$GPLQLVWUDWLRQ             Date        Entered by:29
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   $PRXQWFODLPHG        "MMPXFEBTHFOFSBMVOTFDVSFEDMBJN

  History:
  'HWDLOV         &ODLPILOHGE\'HSDUWPHQWRI/DERU(PSOR\HH$PRXQWFODLPHG
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  Creditor:                &ODLP1R           Status:
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  FR.7%6/DZ//3                             Date        Entered by:6DVKD0*XUYLW]
  $WWQ6DVKD0*XUYLW](VT                 Original Entered        Modified:
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   $PRXQWFODLPHG         "MMPXFEBTHFOFSBMVOTFDVSFEDMBJN
  History:
  'HWDLOV         &ODLPILOHGE\&DOLIRUQLD&RPPXQLW\)RXQGDWLRQ$PRXQWFODLPHG
                                  *XUYLW]6DVKD 
  Description:  86& K &ODLPLQDFFRUGDQFHZLWK6HWWOHPHQW$JUHHPHQW
  Remarks:

  Creditor:                &ODLP1R           Status:
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                                 29 
  Description:  8QSDLGZDJHV
  Remarks:  7KH3URRIRI&ODLPIRUPGLVFORVHVWKDWWKLVFODLPDPHQGVRQHDOUHDG\ILOHG7KHUHLVQR
  FODLPSUHYLRXVO\ILOHGE\WKHFUHGLWRU

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  Case 2:19-bk-23085-BB Doc 271 Filed 10/12/23 Entered 10/12/23 11:35:03 Desc
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  History:
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                                 29 
  Description:  8QSDLGZDJHV
  Remarks:  7KH3URRIRI&ODLPIRUPGLVFORVHVWKDWWKLVFODLPDPHQGVRQHDOUHDG\ILOHG7KHUHLVQR
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  History:
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  Description:  &ODLP)LOHG
  Remarks:

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                                     TRUSTEE’S PROPOSED DISTRIBUTION


     Case No.: 2:19-bk-23085-BB
     Case Name: YOUTH POLICY INSTITUTE, INC.
     Trustee Name: JASON M. RUND, TRUSTEE
                        Balance on hand                                              $              4,179,618.95

              Claims of secured creditors will be paid as follows:

                                                           Allowed             Interim
                                                           Amount of           Payment to         Proposed
      Claim No. Claimant                    Claim Asserted Claim               Date               Payment
                     BB&T now Truist,
                     Bankruptcy
      000028         Management            $   109,325.73 $        109,325.73 $           0.00 $              0.00
                     Nonprofit Finance
      000130A        Fund                  $ 4,350,000.00 $        826,933.37 $   826,933.37 $                0.00
                     Los Angeles Unified
      000142B        School District     $     399,115.53 $        399,115.53 $           0.00 $              0.00
                Total to be paid to secured creditors                                $                        0.00
                Remaining Balance                                                    $              4,179,618.95


              Applications for chapter 7 fees and administrative expenses have been filed as follows:

                                                                           Interim Payments Proposed
                        Reason/Applicant                Total Requested    to Date          Payment
      Trustee Fees: JASON M. RUND,
      TRUSTEE                                           $       223,584.32 $             0.00 $       223,584.32
      Trustee Expenses: JASON M. RUND,
      TRUSTEE                                           $         6,377.13 $             0.00 $         6,377.13
      Attorney for Trustee Fees: Greenberg
      Glusker Fields                                    $       558,314.50 $             0.00 $       558,314.50
      Attorney for Trustee Expenses: Greenberg
      Glusker Fields                                    $         9,488.16 $             0.00 $         9,488.16
      Accountant for Trustee Fees: HAHN FIFE
      & COMPANY LLP                                     $        40,476.00 $             0.00 $        40,476.00




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                                                                               Interim Payments Proposed
                        Reason/Applicant                Total Requested        to Date          Payment
      Accountant for Trustee Expenses: HAHN
      FIFE & COMPANY LLP                              $             921.10 $                 0.00 $           921.10
      Charges: United States Bankruptcy Court         $             350.00 $                 0.00 $           350.00
      Other: Interco Management Corporation           $          45,000.00 $                 0.00 $        45,000.00
      Other: Interco Management Corporation           $           5,681.40 $                 0.00 $         5,681.40
      Other: LAW OFFICE OF PHILIP
      DRACHT                                          $        1,612,642.68 $     1,612,642.68 $                  0.00
      Other: LAW OFFICE OF PHILIP
      DRACHT                                          $           1,701.96 $          1,701.96 $                  0.00
      Other: MDB International Branding LLC           $         105,000.00 $                 0.00 $       105,000.00
      Other: Barbara J Schwartz                       $             590.63 $                 0.00 $           590.63
      Other: FRANCHISE TAX BOARD                      $           3,793.68 $                 0.00 $         3,793.68
                Total to be paid for chapter 7 administrative expenses                   $                999,576.92
                Remaining Balance                                                        $              3,180,042.03


              Applications for prior chapter fees and administrative expenses have been filed as follows:


                                                                NONE


              In addition to the expenses of administration listed above as may be allowed by the Court,
     priority claims totaling $ 1,104,782.01 must be paid in advance of any dividend to general (unsecured)
     creditors.

                 Allowed priority claims are:

                                                      Allowed Amount           Interim Payments Proposed
     Claim No.           Claimant                     of Claim                 to Date          Payment
     000001              HEATHER FUKUNAGA           $             4,995.98 $              0.00 $            4,995.98
     000002              Amber Skrumbis             $             3,405.00 $              0.00 $            3,405.00
     000003              STANLEY SAUNDERS           $                 0.00 $              0.00 $                  0.00




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                                                         Allowed Amount         Interim Payments Proposed
     Claim No.           Claimant                        of Claim               to Date          Payment
     000004              ANGELICA ARNOLD               $           3,390.96 $              0.00 $         3,390.96
     000005              Sofia Goode                   $           3,251.86 $              0.00 $         3,251.86
     000007              VERONICA Z. ANAYA             $           2,143.77 $              0.00 $         2,143.77
     000008              JOSE ESTRADA                  $            310.00 $               0.00 $           310.00
     000009              Carlos Saul Sical Sanhez      $           2,570.74 $              0.00 $         2,570.74
     000011              CAMILLE BULACLAC              $           2,152.40 $              0.00 $         2,152.40
     000014              JULIE LE                      $           2,031.48 $              0.00 $         2,031.48
     000020              NICHOLAS WU                   $          10,106.27 $              0.00 $        10,106.27
     000026              EMILSA GUTIERREZ              $           3,536.30 $              0.00 $         3,536.30
     000029              MAYRA GUTIERREZ               $           3,361.08 $              0.00 $         3,361.08
     000030              John Terre                    $              0.00 $               0.00 $               0.00
     000031              KIMBERLY A MELGAR $                        201.60 $               0.00 $           201.60
     000032              WANDA WADE                    $              0.00 $               0.00 $               0.00
     000033              SONIA MORENO                  $           2,012.00 $              0.00 $         2,012.00
     000034              HECTOR SERRATO                $           3,903.91 $              0.00 $         3,903.91
     000035              DAVID ORTIZ JR                $              0.00 $               0.00 $               0.00
     000036              MARVIN A RAMIREZ              $            303.68 $               0.00 $           303.68
     000037              MICHELLE B EMELLE             $              0.00 $               0.00 $               0.00
     000038              DREW WARMSLEY                 $              0.00 $               0.00 $               0.00
     000039              LUIS CARBAJO                  $           8,581.11 $              0.00 $         8,581.11
     000041              JASMINE TOVER                 $           5,521.00 $              0.00 $         5,521.00
     000042              DIANA MEJIA                   $           1,438.53 $              0.00 $         1,438.53
     000045A             BRYAN COREAS                  $           3,289.61 $              0.00 $         3,289.61
     000046              MARISSA C JOHNSON             $            206.25 $               0.00 $           206.25
     000047              LUIS GOMEZ                    $           3,240.16 $              0.00 $         3,240.16




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                                                       Allowed Amount        Interim Payments Proposed
     Claim No.           Claimant                      of Claim              to Date          Payment
     000051A             Marin Harper                $             0.00 $               0.00 $               0.00
     000052              EDWARD L KLEIN              $           242.25 $               0.00 $           242.25
     000053              HAZIEL I ANGELES            $             0.00 $               0.00 $               0.00
     000054              ANA OSTORGA                 $           186.24 $               0.00 $           186.24
     000055              DYLAN J CAMPBELL            $           154.60 $               0.00 $           154.60
     000056              YESENIA IBARRA              $          5,656.76 $              0.00 $         5,656.76
     000060              DIANE ESTRADA               $          1,884.20 $              0.00 $         1,884.20
     000064              ROXANA MAYORGA              $          1,266.51 $              0.00 $         1,266.51
     000067B             Think Together              $             0.00 $               0.00 $               0.00
     000071              ZULY REYES                  $          1,540.00 $              0.00 $         1,540.00
     000072              KARINA MOSQUEDA             $          1,885.26 $              0.00 $         1,885.26
     000074              Wendy Fabiola Quinonez      $          2,000.00 $              0.00 $         2,000.00
     000075              KARLA ROBLES                $             0.00 $               0.00 $               0.00
     000076A             BELINDA KWAN                $          2,781.93 $              0.00 $         2,781.93
                         DANIELA J FLORES
     000077              BUSSO                       $          2,416.72 $              0.00 $         2,416.72
     000082A             AURELIA ORTIZ               $          1,779.83 $              0.00 $         1,779.83
     000083A             Paola Mejia                 $           283.51 $               0.00 $           283.51
     000084              ALMA R ESTEVEZ              $          4,756.74 $              0.00 $         4,756.74
     000085              CATALINA RODRIGUEZ $                      0.00 $               0.00 $               0.00
     000087              DELVY I GARCIA              $          1,003.62 $              0.00 $         1,003.62
     000089              RUTH MONZON                 $             0.00 $               0.00 $               0.00
     000090              Irma Leticia Sepulveda      $          2,584.68 $              0.00 $         2,584.68
     000091A             JESSICA HENDRICKS           $          3,282.57 $              0.00 $         3,282.57
     000092              Pedro T. Chavira            $          3,443.37 $              0.00 $         3,443.37




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                                                     Allowed Amount         Interim Payments Proposed
     Claim No.           Claimant                    of Claim               to Date          Payment
     000095              KARLA ROBLES              $              0.00 $               0.00 $               0.00
     000096              CICELY MAJEED             $           2,037.00 $              0.00 $         2,037.00
     000097              VANESSA NUNEZ CRUZ $                  2,196.40 $              0.00 $         2,196.40
     000100              Lena Georgas              $           4,927.60 $              0.00 $         4,927.60
     000102              MARIA URQUILLA            $              0.00 $               0.00 $               0.00
     000107              BRIAN J MARTINEZ          $            863.94 $               0.00 $           863.94
     000108              MELISSA MARTINEZ E        $           1,806.42 $              0.00 $         1,806.42
                         MARIA VALLEJO
     000109              VAZQUEZ                   $           1,151.24 $              0.00 $         1,151.24
     000110              NANCY CARDENAS            $            245.14 $               0.00 $           245.14
     000111              LILIANA BARBA             $              0.00 $               0.00 $               0.00
     000112              NOEMI RODRIGUEZ           $           4,238.55 $              0.00 $         4,238.55
     000113              DANIEL GRUNFELD           $          10,433.65 $              0.00 $        10,433.65
     000116              MARILU RAMOS              $            180.87 $               0.00 $           180.87
     000117              ROSA RAMIREZ              $           2,708.63 $              0.00 $         2,708.63
     000118              Ariella Ramirez           $              0.00 $               0.00 $               0.00
     000119              RENEE OCHOA               $            129.69 $               0.00 $           129.69
                         DANIELLE K
     000120              MARTINEZ                  $            289.98 $               0.00 $           289.98
     000121              AUDREY LOPEZ              $            163.87 $               0.00 $           163.87
     000122              PAOLA HUERTA              $            220.87 $               0.00 $           220.87
     000123              ALEX GONZALEZ             $              0.00 $               0.00 $               0.00
     000124              MIGUEL A GARCIA           $            187.07 $               0.00 $           187.07
                         HUGO CRISOSTOMO-
     000125              ROMO                      $            213.75 $               0.00 $           213.75
     000126              ROBERT BARBA              $            216.45 $               0.00 $           216.45




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                                                          Allowed Amount          Interim Payments Proposed
     Claim No.           Claimant                         of Claim                to Date          Payment
     000128A             JOCELYN FLORES                 $             425.00 $               0.00 $           425.00
     000135              GUSTAVO GUTIERREZ              $            2,311.03 $              0.00 $         2,311.03
                         Labor Commissioner of the
     000137A             State of                  $               620,536.37 $              0.00 $       620,536.37
                         MARYAM MALEKI MS
     000145              RD                             $            6,435.00 $              0.00 $         6,435.00
     000146A             Dixon Slingerland              $                0.00 $              0.00 $               0.00
     000149              STACY TAPIA                    $            1,255.52 $              0.00 $         1,255.52
     000150              RANDY QUEZADA                  $             275.50 $               0.00 $           275.50
     000151              YADIRA QUEZADA                 $             759.20 $               0.00 $           759.20
                         INTERNAL REVENUE
     000158A             SERVICE                        $                0.00 $              0.00 $               0.00
                         California Dept. of Tax &
     000159A             Fee                            $           16,177.00 $              0.00 $        16,177.00
     000161              Kaiser Permanente              $          294,107.90 $              0.00 $       294,107.90
                         VERONICA
     000164              HERNANDEZ                      $            2,551.14 $              0.00 $         2,551.14
     000088A             Yehudellie LLC                 $                0.00 $              0.00 $               0.00
                         FRANCHISE TAX
     000167A             BOARD                          $            2,516.23 $              0.00 $         2,516.23
                         INTERNAL REVENUE
     AUTO                SERVICE                        $            9,506.23 $              0.00 $         9,506.23
                         INTERNAL REVENUE
     AUTO                SERVICE                        $            1,117.88 $              0.00 $         1,117.88
                         INTERNAL REVENUE
     AUTO                SERVICE                        $            2,223.22 $              0.00 $         2,223.22
                         EMPLOYMENT
                         DEVELOPMENT
     AUTO                DEPARTMENT                     $             124.22 $               0.00 $           124.22




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                                                         Allowed Amount         Interim Payments Proposed
     Claim No.           Claimant                        of Claim               to Date          Payment
                         EMPLOYMENT
                         DEVELOPMENT
     AUTO                DEPARTMENT                      $         4,222.97 $              0.00 $         4,222.97
                         INTERNAL REVENUE
     AUTO                SERVICE                         $          189.00 $               0.00 $           189.00
                         EMPLOYMENT
                         DEVELOPMENT
     AUTO                DEPARTMENT                      $           21.00 $               0.00 $               21.00
                         EMPLOYMENT
                         DEVELOPMENT
     AUTO                DEPARTMENT                      $          714.00 $               0.00 $           714.00
                Total to be paid to priority creditors                                    $           1,104,782.01
                Remaining Balance                                                         $           2,075,260.02


             The actual distribution to wage claimants included above, if any, will be the proposed payment
     less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

             Timely claims of general (unsecured) creditors totaling $ 18,899,941.03 have been allowed and
     will be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
     timely allowed general (unsecured) dividend is anticipated to be 11.0 percent, plus interest (if
     applicable).

                 Timely allowed general (unsecured) claims are as follows:

                                                         Allowed Amount         Interim Payments Proposed
     Claim No.           Claimant                        of Claim               to Date          Payment
     000006              Jennifer Orozco Esquivias       $             0.00 $              0.00 $                0.00
                         Staples Business
     000010              Advantage                       $       176,352.10 $              0.00 $        19,363.89
     000012              Office Depot                    $         1,638.94 $              0.00 $           179.96
                         UNIVERSITY OF LA
     000013              VERNE                           $        10,796.00 $              0.00 $         1,185.43
     000015              Direct Ed                       $       122,857.14 $              0.00 $        13,490.02




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                                                         Allowed Amount          Interim Payments Proposed
     Claim No.           Claimant                        of Claim                to Date          Payment
                         Newport International
     000016              United College                $           86,333.00 $              0.00 $         9,479.58
     000017              City Year, Inc.               $          230,000.00 $              0.00 $        25,254.56
                         National Career College,
     000018              Inc.                          $           29,595.00 $              0.00 $         3,249.60
     000019              Olivarend Inc.                $           27,583.70 $              0.00 $         3,028.76
     000021              IMPAQ International, LLC $                36,022.74 $              0.00 $         3,955.39
     000022              City Year, Inc                $                0.00 $              0.00 $                0.00
                         Mitchell Silberberg &
     000023              Knupp                         $            3,590.50 $              0.00 $           394.25
     000024              DSH                           $           58,759.11 $              0.00 $         6,451.89
     000025              MEDG International, Inc       $           18,000.00 $              0.00 $         1,976.44
     000027              Gopher Sport                  $           10,166.31 $              0.00 $         1,116.29
     000040              STEM & MORE LLC               $           39,800.00 $              0.00 $         4,370.14
     000043              S&S WORLDWIDE                 $            2,510.03 $              0.00 $           275.61
                         INTERNATIONAL
                         INSTITUTE OF LOS
     000044              ANGELES                       $           54,675.58 $              0.00 $         6,003.51
                         TOTAL CORPORATE
     000048              SOLUTIONS                     $             188.15 $               0.00 $               20.66
     000049              Fifth Road Inc                $            1,357.50 $              0.00 $           149.06
     000050              CLOUD FOR GOOD LLC $                       2,730.00 $              0.00 $           299.76
     000057              Kravitz Inc                   $            3,873.75 $              0.00 $           425.35
     000058              Dell Marketing, L.P.          $           15,229.03 $              0.00 $         1,672.18
                         Uniforms and Safety
     000059              Supplies                      $            1,163.01 $              0.00 $           127.70
     000061              ChildCare Careers             $           39,028.52 $              0.00 $         4,285.43
                         Maximus Protective
     000062              Services                      $           41,677.38 $              0.00 $         4,576.28




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                                                         Allowed Amount          Interim Payments Proposed
     Claim No.           Claimant                        of Claim                to Date          Payment
     000063              Granada Hills High School $              169,198.61 $              0.00 $        18,578.42
                         DISCOVERY SCIENCE
     000065              CENTER OF OC                  $           16,750.00 $              0.00 $         1,839.19
                         MISSION ECONOMIC
                         DEVELOPMENT
     000066              AGENCY                        $            7,017.00 $              0.00 $           770.48
     000067A             Think Together                $          402,575.34 $              0.00 $        44,203.76
                         University of Southern
     000068              California                    $           41,000.00 $              0.00 $         4,501.90
                         American Express National
     000069              Bank                      $              403,862.76 $              0.00 $        44,345.12
     000070              Wells Fargo Bank, N.A.        $            2,052.68 $              0.00 $           225.39
     000073              Mimi Diep                     $           21,840.00 $              0.00 $         2,398.09
     000078              826LA                         $           41,281.00 $              0.00 $         4,532.76
                         California Emerging
     000079              Technology Fund               $           50,000.00 $              0.00 $         5,490.12
     000080              Public Counsel                $           42,400.25 $              0.00 $         4,655.65
                         EVALUATION
     000081              SPECIALISTS                   $           48,968.00 $              0.00 $         5,376.81
                         Career Development
     000086              Solutions LLC                 $           46,859.00 $              0.00 $         5,145.23
     000088B             Yehudellie LLC                $           15,000.00 $              0.00 $         1,647.04
                         MULTICULTURAL
     000093              LEARNING CENTER               $          167,704.00 $              0.00 $        18,414.31
     000094              AAA Institute                 $            1,900.00 $              0.00 $           208.62
     000098              Blanca Rios                   $                0.00 $              0.00 $               0.00
                         City of Philadelphia Law
     000099              Tax & Revenue                 $           53,898.44 $              0.00 $         5,918.18
                         MDB International
     000101A             Branding LLC                  $          662,662.36 $              0.00 $        72,761.96




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                                                        Allowed Amount          Interim Payments Proposed
     Claim No.           Claimant                       of Claim                to Date          Payment
     000103              ROCIO R RODRIGUEZ            $                0.00 $              0.00 $                0.00
     000104              C3 Business Solutions        $           46,161.25 $              0.00 $         5,068.62
     000105              ROCIO R RODRIGUEZ            $                0.00 $              0.00 $                0.00
                         Wells Fargo Vendor
     000106              Financial Services           $          113,779.24 $              0.00 $        12,493.24
     000114              SARA ISRAEL                  $            6,146.10 $              0.00 $           674.86
     000115              leap                         $           23,841.54 $              0.00 $         2,617.86
                         TransPerfect Document
     000127              Management, Inc.             $            3,265.00 $              0.00 $           358.51
     000129              Fresh Start Meals Inc        $           33,423.18 $              0.00 $         3,669.94
                         Cintas Corporation dba
     000131              Cintas Location              $            4,170.38 $              0.00 $           457.92
                         Pioneer Fire Professionals,
     000132              Inc.                        $              180.86 $               0.00 $               19.86
     000133              EdNet Career Institute, Inc. $           75,200.00 $              0.00 $         8,257.14
     000134              Oracle America, Inc          $           73,321.60 $              0.00 $         8,050.89
                         Orenda Education
     000136              (Principals Exchange)        $           88,100.00 $              0.00 $         9,673.60
     000138              Dolphin Trucking School      $             800.40 $               0.00 $               87.89
                         JENNIFER OROZCO
     000139              ESQUIVAS                     $                0.00 $              0.00 $                0.00
     000140              A.M., a Minor                $                0.00 $              0.00 $                0.00
     000141              I.A., a Minor                $                0.00 $              0.00 $                0.00
                         Los Angeles Unified
     000142A             School District              $          294,100.47 $              0.00 $        32,292.96
     000143              Teachers On Reserve LLC $                25,002.37 $              0.00 $         2,745.32
                         Kounkuey Design
     000144              Initiative, Inc.             $            3,253.83 $              0.00 $           357.28




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                                                          Allowed Amount          Interim Payments Proposed
     Claim No.           Claimant                         of Claim                to Date          Payment
                         California Institute of
     000147              Technology,                    $          299,968.00 $              0.00 $        32,937.22
                         HACIENDA LA PUENTE
                         ADULT
     000148              EDUCATION/HACIE    $                        8,925.00 $              0.00 $           979.99
                         Los Angeles Valley
     000152              College -                      $            1,615.00 $              0.00 $           177.33
                         National Career College,
     000153              Inc.                           $           29,595.00 $              0.00 $         3,249.60
     000155              Bright Star Schools            $          482,189.00 $              0.00 $        52,945.54
                         California Department of
     000156              Education                      $      8,840,512.00 $                0.00 $       970,709.97
                         The Regents of the
     000157              University of                  $          167,980.88 $              0.00 $        18,444.71
                         Department of Labor,
     000162              Employee                       $           49,050.00 $              0.00 $         5,385.81
                         California Community
     000163              Foundation                     $          400,000.00 $              0.00 $        43,920.98
     000165              MARISSA C JOHNSON              $                0.00 $              0.00 $                0.00
     000082B             AURELIA ORTIZ                  $            3,465.38 $              0.00 $           380.51
     000083B             Paola Mejia                    $            1,313.25 $              0.00 $           144.20
     000128B             JOCELYN FLORES                 $            7,914.00 $              0.00 $           868.98
                         California Dept. of Tax &
     000159B             Fee                            $             808.86 $               0.00 $               88.81
     000091B             JESSICA HENDRICKS              $            3,259.20 $              0.00 $           357.87
     000076B             BELINDA KWAN                   $            3,371.44 $              0.00 $           370.19
     000130B             Nonprofit Finance Fund         $      3,523,066.63 $                0.00 $       386,841.38
                         FRANCHISE TAX
     000167B             BOARD                          $             411.84 $               0.00 $               45.23
                         Labor Commissioner of the
     000137B             State of                  $           1,076,852.40 $                0.00 $       118,241.04




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                Total to be paid to timely general unsecured creditors                     $           2,075,260.02
                Remaining Balance                                                          $                     0.00




             Tardily filed claims of general (unsecured) creditors totaling $ 3,265.00 have been allowed and
     will be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured)
     claims have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent.

                 Tardily filed general (unsecured) claims are as follows:

                                                          Allowed Amount         Interim Payments Proposed
     Claim No.           Claimant                         of Claim               to Date          Payment
                         TransPerfect Legal
     000154              Solutions                      $           3,265.00 $              0.00 $               0.00
                Total to be paid to tardy general unsecured creditors                      $                     0.00
                Remaining Balance                                                          $                     0.00




            Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
     subordinated by the Court totaling $ 65,804.63 have been allowed and will be paid pro rata only after all
     allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
     subordinated unsecured claims is anticipated to be 0.0 percent.

            Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
     subordinated by the Court are as follows:

                                                          Allowed Amount         Interim Payments Proposed
     Claim No.           Claimant                         of Claim               to Date          Payment
                         INTERNAL REVENUE
     000158B             SERVICE                        $          62,569.23 $              0.00 $               0.00
                         California Dept. of Tax &
     000159C             Fee                            $           3,235.40 $              0.00 $               0.00
                Total to be paid to subordinated unsecured creditors                       $                     0.00
                Remaining Balance                                                          $                     0.00




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